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1822-CC11643

IN THE CIRCUIT COURT OF THE CITY OF ST. LOUIS

STATE OF MISSOURI

CURTIS L. MAHNKEN, CAUSE NO. Pending
)
PLAINTIFF, )
)
Vv. )
)
WRIGHT MEDICAL TECHNOLOGY, INC.,_ )
MICROPORT ORTHOPEDICS, INC., and, _)
PELLMED, LLC, )
)

DEFENDANTS.

PETITION FOR DAMAGES
COMES NOW, Plaintiff, Curtis L. Mahnken, by and through counsel, Harper, Evans,
Wade & Netemeyer, for his cause of action against Defendants, Wright Medical Technology, Inc.,
MicroPort Orthopedics, Inc., and PellMed, LLC, states as follows:
JURISDICTION AND VENUE
l. At relevant times hereto, Plaintiff, Curtis Mahnken, was and is a resident and citizen
of the State of Missouri, residing 615 South Olive St., Mexico, Audrain County, Missouri 65265.
oe At all relevant times hereto Defendant Wright Medical Technology, Inc., is a
foreign corporation doing business in the state of Missouri. Defendant may be served through its
registered agent, CSC- Lawyers Incorporating Service Company at 221 Bolivar Street, Jefferson
City, MO 65101.
3. Defendant Wright Medical Technology, Inc., at times relevant hereto, was en gaged
in the business of designing, manufacturing, distributing, selling, marketing and/or introducing

into interstate commerce, either directly or indirectly through third-parties or related entities,

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various prosthetic orthopedic products, including the Profemur® hip products that are in issue in
this civil action.

4. MicroPort Orthopedics, Inc., is a foreign corporation with its principal place of
business at 5677 Airline Road, Arlington, Tennessee, 38002. Defendant shall be served through
its registered agent, CT Corporation System at 300 Montvue Rd. Knoxville, TN 37919,

5 Defendant MicroPort Orthopedics, Inc., at times relevant hereto, was engaged in
the business of designing, manufacturing, distributing, selling, marketing and/or introducing into
interstate commerce, either directly or indirectly through third-parties or related entities, various
prosthetic orthopedic products, including some of the Profemur® hip products that are in issue in
this civil action

6. Defendant PellMed, LLC, is a Missouri Limited Liability Corporation, doing
business in the state of Missouri; Defendant may be served through its registered agent, Robin
Dahle, at 8050 Watson Road, Suite 236, St. Louis, MO 63119.

Ts MicroPort Orthopedics, Inc., at times relevant hereto, was responsible for

conducting post-market surveillance, monitoring, reporting adverse events, and response to post-
market surveillance issues, related to the Profemur® CoCr modular neck identified with the part
number PHAC-1254.

8, Jurisdiction is proper in the state of Missouri pursuant to RSMO § 506.500.1(3), in
that Defendants committed tortuous actions in the state of Missouri.

9. Venue is proper in the Circuit Court of the City of St. Louis, Missouri pursuant to
RSMO § 508.010.4 in that Plaintiff was injured at Barnes-Jewish Hospital located at 1 Bames

Jewish Hospital Plaza, St. Louis, MO 63110.

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10. Plaintiff, Curtis L. Mahnken, brings this action for his personal injuries and
damages relating to the various Defendants’ development, design testing, assembling,
manufacture, packaging, labeling, marketing, distribution, supplying, and/or sale to him in the
State of Missouri a defective artificial hip product known as a “Profemur” Hip System.

STATEMENT OF FACTS

11. On or about November 20, 2006, Plaintiff Curtis L. Mahnken had a Wright Medical
artificial hip implanted in his right hip in a procedure known as a total hip arthroplasty (THA).

12, Paul S. Lux, M.D. was the orthopedic surgeon who implanted Plaintiff's Wright
Medical artificial hip.

13. Plaintiff's November 20, 2006 hip implant surgery was performed at Barnes-Jewish
West County Hospital in St. Louis, Missouri,

14. Paul S. Lux, M.D. did not violate any generally accepted standards of care in the
field of orthopedic surgery in his care and treatment of Plaintiff in any of the following respects:

a. In the care or treatment that he provided to the Plaintiff prior to beginning
the hip implant surgery;

b. In the information that he did or did not provide the Plaintiff prior to
beginning the hip implant surgery;

c. In the selection of the Wright Medical CoCr Profemur® modular neck, or
any other Wright Medical artificial hip devices, that were implanted in the
Plaintiff;

d. In the hip implant surgery he performed on the Plaintiff:

e. In the care or treatment that he provided to the Plaintiff, subsequent to
Plaintiffs hip implant surgery; and,

f. In the information that he did or did not provide to the Plaintiff subsequent
to Plaintiffs hip implant surgery.

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15. Based upon the patient population in which the Defendant Wri ght Medical intended
its Profemur® artificial hip devices to be implanted, at the time of implantation with his Wright
Medical Profemur® hip devices, Plaintiff Curtis L. Mahnken was an appropriate patient to be
implanted with the Wright Medical Profemur® hip devices he received,

16. Paul S. Lux, M.D. recommended the Wright Medical Profemur® hip devices to
Plaintiff and indicated that the Wri ght Medical Profemur® hip devices were appropriate for him.

17, Curtis L. Mahnken reasonably relied upon Paul S. Lux, M.D. in deciding to proceed
with hip replacement surgery and have Wright Medical Profemur® hip devices implanted in him.

18. “Patient Testimonials” and “Patient Stories” published by Defendant Wright
Medical in print and on various Wright Medical’s internet website pages prior to November 20,
2006, promoting Wright Medical’s hip products, illustrate and demonstrate the patient population,
and activity levels, that Wright Medical intended and expected for its Profemur® and Conserve®
hip devices.

19, Before the Plaintiff's November 20, 2006 surgery, Defendant Wright Medical
supplied the Wright Profemur® and Conserve® hip devices that were implanted in Plaintiff to
Barnes-Jewish West County Hospital! in St. Louis, Missouri.

20. ‘In his total hip replacement surgery on November 20, 2006, Plaintiff Curtis L.
Mahnken had implanted in his right hip the following specific Wright Medical artificial hip
devices:

a. Conserve® Plus Cup
Ref: 3802-5460; Lot: 076354493
Shell Size 60mm O.D; I.D. 54 mm
Material: CoCr; Surface Beaded

b. Conserve® Total A-Class™ Femoral Head

REF: 38AM-5400; Lot: 106377461
W/BFH® Tech.; Medium Neck

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54mm OD; Neck Medium
c. Profemur® LX Stem

Ref: PRLX-0013; Lot: 096351936

Medial Lgth 140; Lateral Lgth 160

Surface Plasma Material: Ti6Al4V
d. Profemur® Modular Neck

Ref: PHAO-1254; Lot #: 076363502

Size: 8DG; Var/Val Long

Material: Ti6Al4V

21. Based upon the intended patient population that Wright Medical expected their
Profemur® and Conserve® hip devices to be implanted in, and when Plaintiff Curtis L. Mahnken
had these devices implanted in him, he was an appropriate patient to be implanted with these
Wright Medical Profemur® and Conserve® hip devices.

22, Subsequent to the date of implantation of his Wright Medical artificial hip, Plaintiff
used his Wright Medical artificial hip in a normal and reasonably expected manner.

23. Subsequent to the date of implantation of his Wright Medical artificial hip, Plaintiff
used his Wright Medical artificial hip in a manner consistent with what was expected in the patient
population these devices were intended for.

24. Subsequent to the date of implantation of his Wright Medical artificial hip, Plaintiff
used his Wright Medical artificial hip in a manner consistent with many of the representations
made in “Patient Testimonials” and “Patient Stories” that appeared in the Wright Medical
websites.

25, After initial recovery from his November 20, 2006 surgery, for a period of time
Plaintiff's Wright Medical artificial hip performed as expected, and the pain and disability Plaintiff

had experienced in his right hip prior to his November 20, 2006 surgery had been substantially

relieved,

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26. | Onor about the date of March 16, 201 5, approximately eight years and four months
after his November 20, 2006 implant surgery, Plaintiff Curtis L. Mahnken, sustained a fracture of
the Profemur modular neck component of his Wright Medical artificial hip.

27. The fracture of the modular neck component of the Plaintiffs Wright Medical hip
occurred in when he was sitting at his home in Mexico, Missouri.

28. On March 18, 2015, emergency surgery, known as a “revision” surgery, was
performed at Barnes-Jewish Hospital in City of St. Louis, St. Louis County, Missouri, by
orthopedic surgeon Cara Alessandra Cipriano, M.D., to remove and replace the failed and damaged
components of Plaintiff's Wright Medical artificial hip.

29, With the exception of the fact that the titanium Profemur Modular Neck component
of Plaintiff's artificial hip had fractured, at the time of his revision surgery on March 18, 2015,
Plaintiff was not otherwise in need of hip revision surgery.

30. With the exception of the fact that the titanium Profemur Modular Neck component
of Plaintiff's artificial hip had fractured, at the time of Plaintiff's March 18, 2015 revision surgery
each of the devices of the Plaintiffs Wright Medical hip was in substantially the same condition
in all relevant respects as when they had left the control of Defendant Wright Medical.

31. Upon information and belief, prior to performing plaintiffs March 18, 2015
revision surgery, plaintiff's surgeon, Dr. Cipriano, contacted and consulted with Chuck Pellegrino,
who had formerly been a Wright Medical sales representative of Profemur® and Conserve® hip
devices in the St. Louis area.

32. Upon information and belief, on March 18, 2015 defendant PellMed, LLC., was

the St. Louis area distributor of Profemur® and Conserve® hip devices.

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33. Upon information and belief, on March 18, 2015 Chuck Pellegrino, was the owner,
and an officer and employee, of defendant PellMed, LLC.

34. Upon information and belief, prior to performing plaintiffs March 18, 2015
revision surgery, plaintiff's surgeon, Dr. Cipriano, contacted and consulted with Jamie Sease, a
former Wright Medical Product Development Engineer.

35. Upon information and belief, on March 18, 2015 Jamie Sease was at that time the
Field Marketing Manager of Defendant MicroPort Orthopedics, Inc.

36. Upon information and belief, Jamie Sease, in her capacity as an employee of
Defendant MicroPort Orthopedics, Inc., was present at the Plaintiffs March 18, 2015 revision
surgery.

37. Upon information and belief, Chuck Pellegrino, in his capacity as an employee of
Defendant PellMed, LLC, and as a sales representative for Profemur® hip products, was present at
the Plaintiff's March 18, 2015 revision surgery.

38. Plaintiff Curtis L. Mahnken’s March 18, 2015 revision surgery included:

a. Removal of the Wright Medical Conserve® Femoral head with the
imbedded fractured proximal portion of the Wright Medical titanium
Profemur® Modular neck;

b. The removal of the fractured distal portion of the titanium Profemur®
modular neck from the otherwise well-fixed femoral component, the

Profemur® TL Stem;

c. Inserting a MicroPort CoCr Profemur® Plus Modular neck into the
previously implanted Profemur® TL Stem;

d. Placing a MicroPort Conserve® Femoral head onto the newly implanted
MicroPort CoCr Profemur® Plus Modular neck.

39, The new devices implanted in Plaintiff Curtis L. Mahnken’s right hip in his March

18, 2015 revision surgery included:

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a. Conserve® A-Class™ Femoral Head: W/BFH® Tech.
REF; 38AM5435; Lot: 128752861
54mm OD; Neck Long
b. Profemur® Plus Modular Neck
REF: PHAC-1254; Lot: 1543399
Size: Long 8 DG Var/Val

40. The Conserve® and Profemur® hip devices described immediately above and
implanted in Plaintiff in his revision surgery on March 18, 2015, were designed and manufactured
by Defendant Wright Medical Technology, Inc.

41. The Conserve® and Profemur® hip devices described above and implanted in
Plaintiff in his revision surgery on March 18, 2015, were sold by Defendant MicroPort to
Defendant Barnes-Jewish Hospital for use in surgery performed on the Plaintiff at its hospital in
the City of St. Louis.

42, The Conserve® and Profemur® hip devices described above and implanted in
Plaintiff in his revision surgery on March 18, 2015, were distributed by Defendant PellMed, LLG,
to Defendant Bames-Jewish Hospital for use in surgery performed on the Plaintiff at its hospital
in the City of St. Louis.

43. Based upon the intended patient population that Wright Medical and MicroPort
expected the Profemur® and Conserve® hip devices to be implanted in, and when Plaintiff Curtis
L. Mahnken had these devices implanted in him on March 18, 2015, he was an appropriate patient
to be implanted with these Wright Medical Profemur® and Conserve® hip devices.

44, Orthopedic surgeon Cara Alessandra Cipriano, M.D., did not violate any generally
accepted standards of care in the field of orthopedic surgery in her care and treatment of the
Plaintiff in any of the following respects:

a. In the care or treatment that she provided to the Plaintiff prior to beginning
the hip revision surgery;

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b. In the information that she did or did not provide the Plaintiff prior to
beginning the hip revision surgery;

c. In the selection of the Wright Medical CoCr Profemur® modular neck, or
any other Wright Medical artificial hip devices, that were implanted in the
Plaintiff;

d. In the decision to remove any of the Wright Medical hip devices that were
removed in the hip revision surgery;

€. In the decision not to remove the Wri ght Medical hip devices that were not
removed in the hip revision surgery

f. In the hip revision surgery she performed on the Plaintiff:

g. In the care or treatment that she provided to the Plaintiff, subsequent to
Plaintiff's hip revision surgery; and,

h. In the information that she did or did not provide to the Plaintiff subsequent
to Plaintiffs hip implant surgery,

45, Subsequent to March 18, 2015, Plaintiff used his revised hip and its Profemur® and
Conserve® hip devices in a normal and reasonab! y expected manner.

46. Subsequent to the March 18, 2015 implantation of his Profemur® and Conserve®
hip devices, Plaintiff used his revised hip and its Profemur® and Conserve® hip devices in a manner
consistent with what was expected in the patient population these devices were intended for.

47. Subsequent to the March 18, 2015 implantation of his Profemur® and Conserve®
hip devices, Plaintiff used his revised hip and its Profemur® and Conserve® hip devices in a manner
consistent with many of the representations made in “Patient Testimonials” and “Patient Stories”
that previously had appeared in the Wright Medical websites that existed at various times since his
original total hip arthroplasty in 2006.

48. After initial recovery from his March 18, 2015 revision hip surgery, for a period of

time Plaintiff's revised artificial hip performed as expected, and he had substantially recovered

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from the pain and disability he had experienced in his right hip at the time of the modular neck
fracture on March 16, 2015, and the trauma of the revision surgery.

49, On or about the date of J anuary 27, 2018, approximately two years and ten months
after his March 18, 2015, revision surgery, Plaintiff Curtis L. Mahnken, sustained a fracture of the
Profemur® Plus CoCr Modular Neck component of his artificial hip.

50. The fracture of the Profemur® Plus CoCr Modular Neck component of the
Plaintiff's Wright Medical hip occurred while walking up stairs in his home in Mexico, Missouri.

Sl. On January 29, 2018, a second emergency revision hip surgery was performed at
University Hospital in Columbia Missouri, by orthopedic surgeon James A. Keeney, M.D., to
remove and replace the failed and damaged components of the Plaintiff's artificial hip.

52. With the exception of the fact that the titanium Profemur® Plus CoCr Modular Neck
component of Plaintiff's artificial hip had fractured and caused injury to the Plaintiff, at the time
of his revision on January 29, 2018, the Plaintiff was not otherwise in need of hip revision surgery.

53. With the exception of the fact that the Profemur® Plus CoCr Modular Neck
component of Plaintiff's artificial hip had fractured, at the time of Plaintiff's January 29, 2018
revision surgery each of the devices of the Plaintiff's artificial hip was in substantially the same
condition in all relevant respects as when they had left the control of Defendants Wright Medical
and MicroPort.

54, Plaintiff Curtis L. Mahnken’s January 29, 2018 revision surgery included:

a. Performing an extended trochanteric osteotomy to remove the otherwise
well-fix Wright Medical Profemur® LX stem and the imbedded
fractured distal remnant of the Profemur® Plus CoCr Modular Neck;

b. Removal of the Conserve® Femoral head with the imbedded fractured
proximal portion of the Profemur® Plus CoCr Modular Neck;

c. The removal of the Conserve® Plus acetabular cup system;

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d. Femoral reconstruction to repair the damage done to the Plaintiff's
femur in performing the extended trochanteric osteotomy, including the
use of wire cables to hold the femoral bone fragments in place: and,
€. Reconstruction of the Plaintiff's artificial right hip with screws and hip
devices provided by medical device manufacturers other than Wright
Medical or MicroPort.
55. Dr. Keeney, M.D., did not violate any generally accepted standards of care in the

field of orthopedic surgery in his care and treatment of the Plaintiffin any of the following respects:

a. In the care or treatment that he Provided to the Plaintiff prior to beginning
the hip revision surgery;

b. In the information that he did or did not provide the Plaintiff prior to
beginning the hip revision surgery;

c. In the decision to remove all of the Wright Medical and MicroPort hip
devices that were removed in the hip revision surgery;

d. In the hip revision surgery he performed on the Plaintiff:

¢. In the care or treatment that he provided to the Plaintiff, subsequent to
Plaintiff's hip revision Surgery; and,

f. In the information that he did or did not provide to the Plaintiff subsequent
to Plaintiff's hip implant surgery.

ACCRUAL OF PLAINTIFF’S CAUSES OF ACTION
56. Prior to March 16, 2015, Plaintiff had neither knowledge nor notice that there was
any defect in the design, manufacture or labeling of his implanted titanium Profemur® Modular
Neck.
57. Prior to January 27, 2017, Plaintiff had neither knowledge nor notice that there was
any defect in the design, manufacture or labeling of his implanted Profemur® Plus CoCr Modular

Neck,

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58. _ Earliest in time of the Plaintiff's causes of action alleged in this Complaint did not
accrue until March 16, 2015,

WRIGHT MEDICAL, MICROPORT, and the PROFEMUR® HIP

59. In approximately the year 1985 a European manufacturer of artificial hip devices,
known as Cremascoli Ortho Group (“Cremascoli”), developed the first prototype of what became
known as the titanium Profemur® Modular Necks.

60. The first prototype of what became known as the titanium Profemur® Modular
Necks were patented with the European Patent Office by Cremascoli in 1986.

61. | What became known as the titanium Profemur® Modular Necks were first
distributed in Europe by Cremascoli in 1986.

62. The name PROFEMUR® was originated by Cremascoli as a brand name for certain
models or designs of its artificial hip devices.

63. | Cermascoli Profemur® prosthetic hip devices are the subject of medical literature
published in 1996. [See: The Modular Prosthesis for Hip Revision Surgery: Experience with the
Profemur Stem: Masse, Scagnelli, Trossarello, Buratti, Randelli, Basso, Dei Poli, Giaretta,
Leonardi, Massetti, Pugliese: Italian Journal of Orthopaedics and Traumatology-Suppl. 1, Vol
XXII. - Fasc. 2- GIUGNO 1996.]

64. The above referenced 1996 medical literature is cited by Wright Medical in various
Wright Medical Profemur® Technical Monographs that it created and distributed. [e.g.,
PROFEMUR™ TOTAL HIP SYSTEM, PERFORMANCE CHARACTERISTICS OF THE
PROFEMUR™ TOTAL HIP SYSTEM, ©2002 Wright Medical Technology, Inc., MH688-102;
and, PROFEMUR® R Revision Hip System, TECHNICAL MONOGRAPH, ©2010 Wright

Medical Technology, MH688-102, Rev. 6.10, among others.]

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65. In December 1999, Wright Medical Group, Inc., the parent corporation of Wright
Medical Technology, Inc., purchased Cremascoli Ortho, acquiring Cremascoli’s Profemur®
artificial hip product line, related documents, and manufacturing facilities in Toulon France.

66. Based on publicly available patent documents of Cremascoli, it appears that there
was a change in some aspects of the design of the titanium Profemur® modular necks before these
products were first distributed in the United States. [Hereinafter at times referred to as a “re-
design”.]

67. Upon information and belief, before the acquisition of Cremascoli by Wright
Medical, a re-design of the Profemur® Modular Necks at the mid-body of the neck increased the
range of motion of the hip joint in an assembled artificial hip when used with compatible femoral
heads and acetabular components. [Hereinafter these re-designed Profemur® Modular Necks at
times are referred to as the “PHAO” modular necks, }

"68. “Version” is the term Wright Medical used for the different lengths and angles of
its Profemur® Modular Necks, identified by unique catalog numbers. For example, the Wright
Medical Profemur® titanium varus/valgus 8° long neck, catalog # PHAO-1254, was one “version”
ofa Wright Medical Profemur® Modular Neck.

69. By the end of the year 1998, the Cremascoli modular neck product line had been
expanded to include “versions” of modular necks that did not exist in 1986.

70. After the acquisition of Cremascoli, Wright Medical expanded the Profemur®
product line to include additional designs and “versions” of Profemur® Modular Necks that did
not exist prior to its acquisition of Cremascoli.

ik Sometime after the acquisition of Cremascoli, Wright Medical began to refer to

some of its products as the “Profemur® Total Hip System.”

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72. On September 26, 2000, Wright Medical Technology, Inc. notified the United
States Food and Drug Administration [FDA] of its intent to market what it called the “PRO-
FEMUR R Revision Hip System” by way of what is known as an Abbreviated 510(k) Premarket
Notification. [See: FDA 510(k) K003016.]

73. Wright Medical’s Abbreviated 510(k) Premarket Notification for the PRO-FEMUR
R Revision Hip System Device Description included, “twelve modular necks which are available
in six versions and two lengths: Neutral, anteversion/retroversion 8° or 15°, varus/valgus 8°, or
combination of anteverted/retroverted — varus/val gus (in both short and long lengths).”

74. On December 13, 2000, Wright Medical Technolo gy, Inc. received clearance from
the FDA to market the PRO-FEMUR R Revision Hip System in the United States.

75, The FDA itself did not test in a laboratory the safety or efficacy of the Profemur®
R Revision Hip System stem, nor the accompanying titanium Profemur® modular necks, as a part
of the Abbreviated 510(k) process.

76, Sometime after December 13, 2000, Defendant Wright Medical Technology, Inc.,
began to manufacture, label, market, promote, distribute and sell in the United States the Wright
Medical Profemur® Total Hip System and its components.

TE Sometime after December 13, 2000, Defendant Wright Medical Technology, Inc.,
began to manufacture, label, market, promote, distribute and sell in the United States Wright
Medical titanium Profemur® Modular Necks.

78. On March 11, 2002, Wright Medical Technology, Inc. filed an application with the
United States Patent and Trademark Office to register the trademark “PROFEMUR” in the United

States, [See: U.S. Trademark Registration Number: 76380670. |

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79. After receiving the 510(k) clearance to market the PRO-FEMUR® R Revision Hip
System, over time Wright Medical expanded the Profemur® prosthetic hip stem product line to
include additional designs of Profemur® Stems, including hip stems branded with names such as
the Profemur® Z Hip Stem, Profemur® Plasma Z Hip Stem, Profemur® LX Hip Stem, and the
Profemur® TL Hip Stem, among others.

80. Sometime after January 13, 2000, Defendant Wright Medical began to describe its
Profemur® hip devices to its distributors, sales representatives, and surgeons, in printed brochures
that it created, copywrote, and distributed, known as “Technical Monographs.”

81, Sometime after J anuary 13, 2000, Defendant Wright Medical began to describe its
Profemur® hip devices to its distributors, sales representatives, and Surgeons, on and through
internet website pages that it created, copywrote, and controlled.

82. Sometime after January 13, 2000, Defendant Wright Medical began to promote and
market its Profemur® hip devices to the general public, on and through internet website pages that
it created, copywrote, and controlled.

83. In various Technical Monographs material created, copywritten, and distributed by
Wright Medical beginning in approximately the year 2002, and continuing into the year 2005,
Wright Medical made the following representations, statements, and claims about its Profemur™
modular necks:

The modular neck used with the Profemur® Hip has been employed by Wright

Cremascoli for over 15 years. The necks ‘were designed in 1985 and have been

successfully implanted in over 50,000 patients requiring both primary and revision

hip procedures. The necks are used in other Wri ght Cremascoli hip systems besides

the Profemur™ Hip. None of the necks has experienced a clinical failure since their

inception.

[e.g., Wright Medical Technical Monograph MH688-102 ©2002, and © 2004. ]

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84. Wright Medical knew that the above quoted statement by Wright Medical that,
“None of the necks has experienced a clinical failure since their inception,” was false when first
made.

85. Prior to December 1, 2008, Wright Medica! never corrected or recanted the above
quoted statement by Wright Medical, “None of the necks has experienced a clinical failure since
their inception.”

86. In various Technical Monographs created, copywritten, and distributed by Wright
Medical beginning in approximately the year 2002, and continuing into the year 2005, Wright
Medical made the following representations, Statements, and claims about its Profemur® modular
necks:

The modular neck system, designed by Cremascoli in 1985 (U.S. Patent #

4,957,510), has now been successfully implanted in over 50,000 patients requiring

both primary and revision hip arthroplasty. Extensive laboratory tests have proven

that the coupling between the modular neck and femoral implant guarantees:

e Structural reliability
e Absence of significant micromovemen
e Absence of fretting corrosion OT

[e.g., Wright Medical Technical Monograph MH688-102 ©2002, and © 2004.]

87. The above quoted statement by Wri ght Medical that it, “guaranteed . . . absence of
fretting corrosion,” with its Profemur® modular necks was false at the time it was first made.

88. Wright Medical has never corrected or recanted the above quoted statement that it,
“guaranteed . . . absence of fretting corrosion,” with its Profemur® modular necks.

89. In various marketing and informational material published and distributed by

Wright Medical, and available to Wright Medical’s sales representatives and distributors,

surgeons, patients and the general public, Wright Medical made representations, statements, and

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claims about its Conserve® and Profemur® hip product lines that these products were intended for
patients who wanted to return to an “active lifestyle.”

90, In various marketing and informational material published and distributed by
Wright Medical, and available to Wright Medical’s sales representatives and distributors,
surgeons, patients and the general public, Wright Medical made representations, statements, and
claims about its Conserve® and Profemur® hip product lines that these products were intended for
patients who wanted to return to and engage in various sporting, athletic, and lifestyle activities,
such as golf, tennis, running, dirt bike racing, wrestling, active military duty, karate, and heavy
labor,

91. In various marketing and informational material published and distributed by
Wright Medical, and available to Wright Medical’s sales representatives and distributors,
surgeons, patients and the general public, Wright Medical made representations, statements, and
claims about its Conserve® and Profemur® hip product lines that these products had been implanted
in patients who had returned to or engaged in various sporting, athletic, and lifestyle activities,
such as golf, tennis, running, dirt bike racing, wrestling, active military duty, karate, and heavy
labor.

92. In various marketing and informational material published and distributed by
Wright Medical, and available to Wright Medical’s sales representatives and distributors,
surgeons, patients and the general public, Wright Medical made representations, statements, and
claims about its Conserve® and Profemur® hip product lines that these products were expected to

last 10 to 15 years.

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93. In marketing its Conserve® and Profemur® hip product lines to surgeons, one or
more Wright Medical sales representatives made representations to one or more surgeons that
Wright Medical Conserve® and Profemur® hip products were expected to last at least 20 years.

94. Modular necks which Wright Medical represented in literature it created and
distributed in the United States, © 2002 and © 2004, for its marketing of these devices as having
been “designed by Cremascoli in 1985,” and “successfully implanted in over 50,000 patients,”
included the original modular neck design that existed prior to the re-designed [PHAO] necks.

95. Prior to the year 2000, Cremascoli had received notice of clinical failures in the
form of fractures of its modular necks that had been “designed by Cremascoli in 1985.”

96, Prior to the year 2000, Wright Medical had received notice of clinical failures in
the form of fractures in Europe of the modular necks that had been “designed by Cremascoli in
1985.”

97. Once Wright Medical fileda 51 0(k) Premarket Notification application to distribute
its Profemur® modular necks in the United States, Wright Medical had a duty to report to the FDA
any, each, and all events it received notice of where it was claimed that there had been a fracture
in a patient of a Profemur® modular neck.

98. | Once Wright Medical received clearance to distribute titanium Profemur® modular
necks in the United States as a result of its 510(k) Premarket Notification application, Wright
Medical had a duty to report to the FDA any, each, and all events it received notice of where it
was claimed that there had been a fracture in a patient of a Profemur® modular neck.

99. Prior to January of 2005, Wright Medical knew of or received notice of fractures in

patients of Profemur™ modular necks that had been “designed by Cremascoli in 1985”.

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100. Prior to April 19, 2005, Wright Medical did not report to the FDA any of the events
it received notice of that a Profemur® modular neck had fractured in a patient.

101. On or about April 19, 2005, Wright Medical first reported to the FDA that it had
received notice that a Profemur® modular neck implanted in a patient had fractured.

102. After receiving notice of a 2005 Profemur® modular neck fracture, Wright Medical
received notice of additional Profemur® modular neck fractures in patients.

103. The number of reported titanium Profemur® modular neck fractures has continued
to increase, and Wright Medical has acknowledge, on the record in open court, more than 700
Profemur® modular neck fractures have been reported to it.

104. Prior to December 1, 2008, Wright Medical did not inform all orthopedic surgeons
in the United States known by it to have implanted its titanium Profemur® modular necks of the
reports it had received of titanium modular necks fracturing.

105. On December 1, 2008, a “Safety Alert” was sent by Wright Medical to certain
“medical professionals,” which stated, in part, “[W]e have received reports of 35 modular neck
failures as of November 21, 2008. Initial investigations have revealed several commonalities in
these failures: heavyweight males, long modular necks and patient activities such as heavy lifting
and impact sports.”

106. Atthe time Wright sent its December 1, 2008 Safety Alert, Wright Medical in fact
was aware of more than 35 titanium modular neck failures (by fracture of a Profemur® modular
neck) as of November 21, 2008, if all of the reported modular neck fractures back to the year 1985
were included in the count.

107. In the FDA Guidance Documents for Femoral Stem Prostheses DRAFT, dated

August 1, 1995, available to industry at the time Wri ght Medical submitted its Abbreviated 510(k)

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clearance application for the Pro-Femur R Revision Hip System, the section titled
“Contraindicated Weight Limit(s)”, stated, in part, “labeling by contraindication as not for use in
patients above a certain weight.”

108. In Wright Medical’s Instructions for Use [hereinafter “IFU”] that accompanied the
Profemur® hip devices distributed in the United States from the date of their introduction into the
United States, through June of 2009, Wright stated the use of these devices to be contraindicated
in “obese” patients, “[ Where obesity is defined as three times normal body weight.”

109. Prior to August 2010, Wright Medical did not, in its IFUs for the Profemur® hip
devices distributed in the United States, include a warming, precaution or other advisory as to the
use of any of its Profemur® modular necks in people who weighed more than a specifically stated
patient body weight in pound or kilograms.

110. Prior to August 2010, Wright Medical did not, in its IFUs for the Profemur® hip
devices distributed in the United States, include a warning, precaution or other advisory as to the
use of any of its Profemur® modular necks in people who had a body mass index [BMI] at or above
a certain number,

111. Wright Medical has never stated in its [FUs for the Profemur® hip devices
distributed in the United States that the use of any of its Profemur® modular necks was
contraindicated in heavyweight males.

112. Wright Medical has never stated in its IFUs for the Profemur® devices distributed
in the United States that the use of any of its Profemur® modular necks was contraindicated in

patients who engaged in heavy lifting.

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113. Wright Medical has never stated in its IFUs for the Profemur® devices distributed
in the United States that the use of any of its modular necks was contraindicated in patients who
engaged in impact sports.

114. The IFU for Wright Medical Profemur® devices distributed in the United States
was the same IFU document used for some other Wright Medical hip devices that did not use
Profemur® Modular necks and were not modular in the region of the artificial femoral neck.

115. Atno time did Wright Medical state in its IFUs distributed in the United States that
the rate of failure by fracture of the implant was higher for its Profemur® modular neck hip devices,
compared to the rate of failure by fracture for other Wright Medical hip devices that did not use
modular necks, but were subject to the same IFU document.

116. Even though some Wright Medical IFUs for the Profemur® devices in use prior to
August 2010 contained a section titled, “Conditions presenting increased risk of failure include. .
.»” that section of the IFU did not state that patients who weigh more than a certain patient body
weight, or have a BMI at or above a certain number, or engage in a high level of physical activity,
or engage in heavy lifting, or engage in impact sports, would be at an increased risk of failure (by
fracture) of the modular neck component, when compared to the risk of failure for other Wright
Medical hip devices using that same IFU document but that did not use modular necks.

117. Even though some Wright IFUs for the Profemur® devices in use prior to August
2010 contained a section titled “Warning,” and a subsection within titled “Modular Necks,” Wright
Medical did not state therein that patients weighing more than a certain patient body weight, or
with a BMI at or above a certain number, or who engage in a high level of physical activity, or
engage in heavy lifting, or engage in impact sports, would be at an increased risk of failure (by

fracture) of the modular neck component when compared to the risk of failure (by fracture) for

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other Wright Medical hip devices using that same IFU document but that did not use modular
necks.

118. Even though some Wright IFUs for the Profemur® hip devices in use prior to
August 2010 contained a section titled “General Product Information,” that stated, “An overwei ght
or obese patient can produce high loads on the prostheses, which can lead to failure of the
prosthesis,” and, “If the patient is involved in an occupation or activity which includes substantial
walking, running, liftin g, or muscle strain, the resultant forces can cause failure of the fixation of
the device, or both,” Wright Medical did not state that patients involved in an occupation or activity
that included those activities created any higher risk of failure (by fracture) of the modular neck
component when compared to the risk of failure (by fracture) for other Wright Medical hip devices
using that same IFU document but that did not use modular necks.

119, Prior to August 2010 Wright Medical did not change the language in its IFUs for
its Profemur® devices distributed in the United States discussing the issue of any specific patient
body weight or activity levels as they may relate to modular neck fractures,

120. Between the dates of December 13, 2000 and August 25, 2009 all of the Profemur®
modular necks distributed by Wright Medical were made of a titanium alloy, generally known as
Ti6AI4V,

121. After Profemur® Modular Necks began to be implanted, Cremascoli and Wright
Medical began to receive reports of its titanium Profemur® modular necks having fractured.

122, After Profemur® Modular Necks began to be implanted, Cremascoli and Wright
Medical began to receive reports of its titanium Profemur® modular necks having fractured at the

oblong taper (distal end) where it is seated in the “pocket” of the stem.

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123, Atsome point in time prior to July 30, 2010, Wright Medical came to the conclusion
that, “Higher than normal rates of early failure of the long offset PROFEMUR® Titanium Modular
Necks have been observed for heavyweight (>230 Ibs.) patients,”

124. As the number of reported Wri ght Medical titanium Profemur® modular neck
fractures continued to increase, case studies appeared in medical journals reporting the fracture of
Wright Medical titanium Profemur® modular necks.

125. Wright Medical titanium Profemur® Modular Necks were fracturing at the neck-
stem junction because they were:

a. Inadequately designed for the patient population for which they
were marketed;

b. Not designed to withstand the stress and loads that they would
reasonably be expected to be subjected to after implantation; an

c. Not designed to meet the performance requirements of published
applicable industry standards; and,

d. Not designed with the performance characteristics that had been
represented to surgeons by Wright Medical, and its sales force.

126. As the number of reported Wright Medical titanium Profemur® modular neck
fractures continued to increase, surgeons who had been implanting these devices began to question
the safety of these devices.

127. As the number of reported Wright Medical titanium Profemur® modular neck
fractures continued to increase, some surgeons who had been implanting these devices stopped
using the Wright Medical titanium modular necks.

128. As the number of reported Wright Medical titanium Profemur® modular neck
fractures continued to increase, at some point in time Wright Medical’s sales of its Profemur® hip

devices the United States began to decline.

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129. As the number of reported Wright Medical titanium Profemur® modular neck
fractures continued to increase, Wright Medical did not acknowledge to surgeons or to the FDA
that titanium Profemur® modular neck fractures were a result of a defective design.

130. As the number of reported Wright Medical titanium Profemur® modular neck
fractures continued to increase, Wright Medical did not acknowledge to surgeons or to the FDA
that titanium Profemur® the modular neck fractures that were occurring were a result of an
inadequate design for the intended patient population in which that they had been marketed to
surgeons as appropriate for.

131. As the number of reported Wright Medical titanium Profemur® modular neck
fractures continued to increase, Wright Medical engaged in a campaign of concealment,
misinformation, deceit, and fraud, misrepresenting to surgeons the facts and truth as to the
numbers, rates, and reasons for its Profemur® modular neck fractures.

132. As the number of reported Wright Medical titanium Profemur® modular neck
fractures continued to increase, Wright Medical did not inform all surgeons using these products
that, based upon information that had been reported to the FDA MAUDE Database, that the long
Profemur® Neck Varus/Valgus 8 Degree, Catalog # PHAO-1254, had the highest numbers of
fractures, and the highest rate of fractures, of the modular necks.

133. As the number of reported Wright Medical titanium Profemur® modular neck
fractures continued to increase, Wright Medical did not inform the Plaintiff's surgeon that, based
upon information that had been reported to the FDA MAUDE Database, that the long Profemur®
Neck Varus/Valgus 8 Degree, Catalog # PHAO-1254, had the highest numbers of fractures, and

the highest rate of fractures, of the modular necks.

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134. As the number of reported Wright Medical titanium Profemur® modular neck
fractures continued to increase, Wright Medical began to design and develop a Profemur® modular
neck made of a cobalt-chrome alloy [CoCr].

135. One of the purposes of Wright Medical designing and developing a Profemur®
modular neck made of CoCr was to preserve its market share of the artificial hip device market.

136. Onor about April 16, 2009, Wright Medical submitted to the FDA an Abbreviated
510(k) premarket notification of intent to market what it called Profemur® Hip System Modular
Necks. [See: FDA 510(k) K091423.]

137. The modular necks that were the subject of the April 16, 2009, premarket
notification of intent to market were made of a CoCr alloy.

138. The modular necks that were the subject of the April 16, 2009, premarket
notification of intent to market eventually became known as the Profemur® Plus CoCr Modular
Necks,

139. In that premarket notification Profemur® Plus CoCr Modular Necks that Wright
Medical represented to the FDA, in part, “The indications for use of the PROFEMUR® Hi p System
Modular Necks are identical to the previously cleared predicate devices. The design features and
materials of the subject devices are substantially equivalent to those of the predicate devices.”
[See: FDA 510(k) K091423.]

140. The “predicate devices” referenced in the April 16, 2009 notification of intent to
market were the titanium Profemur® titanium modular necks which had received clearance by way

of the FDA letter dated December 13, 2003. [See: FDA 510(k) K003016.]

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141. It is the position of Wright Medical that the design, development, and introduction
of Wright Medical Profemur® Plus CoCr Modular Necks was not a subsequent remedial measure
for any design defect that existed in the Wright Medical titanium Profemur® modular necks.

142. Prior to August 25, 2009 Wright Medical knew or should have known that the
proposed Profemur® Plus CoCr Modular Necks would be subject to corrosion at the neck-stem
Junction.

143. Prior to August 25, 2009 Wright Medical knew or should have known that the
Proposed Profemur® Plus CoCr Modular Necks would be subject to fracture at the neck-stem
junction.

144. Prior to August 25, 2009 Wright Medical knew or should have known not to
proceed with the development, manufacture and marketing of the proposed Profemur® Plus CoCr
Modular Necks.

145. Based upon what Wright Medical knew or should have known as of August 25,
2009, a reasonable manufacturer would not have marketed the Wright Medical Profemur® Plus
CoCr Varus/Valgus 8 degree long modular necks, PHAC-1254.

146. On August 25, 2009, Wright Medical received clearance from the FDA to market,
in the United States Profemur® modular necks manufactured from CoCr. [See: FDA 510(k)
K091423.]

147. Sometime after the date of August 25, 2009, Wright Medical began to market,
distribute and sell in the United States Profemur® Plus CoCr Modular Necks.

148. The Wright Medical Profemur® Plus CoCr Modular Necks were marketed to be an
alternative for the Wright Medical titanium Profemur® Modular Necks, compatible with all of the

same Wright Medical Profemur® stems and Wri ght Medical Conserve® femoral heads.

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149. Wright Medical does not admit that there was, or is, any defect in the design of its
titanium Profemur® modular necks that leads to premature fracture of its titanium modular necks.

150. Wright Medical does not admit that there was, or is, any defect in the manufacture
of its titanium Profemur® modular necks that leads to premature fracture of its titanium modular
necks.

151. The Profemur® Plus CoCr Modular Necks that Wright Medical began to offer to
surgeons and patients included a version that was a long Varus/Valgus 8 Degree neck, identified
as Catalog # PHAC-1254.

152. The Profemur® Plus CoCr Modular Necks that Wright Medical began to offer to
surgeons and patients did not include a warning that the titanium version of the long Profemur®
Varus/Valgus 8 Degree modular neck [Catalog #PHAO-1254] was the version with the highest
reported numbers and highest rates of fractures of the neck.

153. The Profemur® Plus CoCr Modular Necks that Wright Medical began to offer to
surgeons and patients did not include a warning that the CoCr version of the long Profemur®
Varus/Valgus 8 Degree modular neck [Catalog #PHAC-1254] was the same length and angulation
as the titanium version modular neck with the highest reported numbers and highest rates of
fractures, the PHAO-1254.

154. The Profemur® Plus CoCr Modular Necks that Wright Medical designed and
manufactured were designed to be used with the all of the same Profemur® hip stems as were its
titanium Profemur® modular necks.

155. The Profemur® Plus CoCr Modular Necks that Wright Medical designed and
manufactured were designed to be used with the all of the same femoral heads as were its titanium

Profemur® modular necks.

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156, In marketing its Profemur® Plus CoCr Modular Necks Wright Medical has stated,
“Product complaint data reported to Wright to date does not indicate an increased risk, as compared
to traditional titanium necks, of adverse events due to taper junction fretting and corrosion or
fractures for Profemur® Plus CoCr Modular Necks.” [See Profemur® Plus CoCr Modular Necks
Frequently Asked Questions, Wright Medical publication MH619-812.]

157. The claim by Wright Medical in marketing its Profemur® Plus CoCr Modular
Necks that, “Product complaint data reported to Wright to date does not indicate an increased risk,
as compared to traditional titanium necks, of adverse events due to taper junction fretting and
corrosion or fractures for Profemur® Plus CoCr Modular Necks,” was not supported by
independent scientific testing.

158. The claim by Wright Medical that “Product complaint data reported to Wright to
date does not indicate an increased tisk, as compared to traditional titanium necks, of adverse
events due to taper junction fretting and corrosion or fractures for Profemur® Plus CoCr Modular
Necks” was false and misleading.

159. In marketing its Profemur® Plus CoCr Modular Necks Wright Medical claimed that
these CoCr modular necks would result in less fretting than occurred with titanium modular necks.

160. Claims by Wright Medical that these Profemur® Plus CoCr Modular Necks would
result in less fretting than occurred with titanium modular necks was not supported by independent
scientific testing.

161, Claims by Wright Medical that its Profemur® Plus CoCr Modular Necks would

result in less fretting than occurred with titanium modular necks were false and misleading.

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162. The design of the Wright Medical Profemur® Plus CoCr modular neck, when
coupled with the design of the Wright Medical titanium Profemur® hip stems, is such that it in fact
promotes the process of fretting corrosion at the modular neck/stem junction.

163. In marketing its Profemur® Plus CoCr Modular Necks Wright Medical claimed that
the use of dissimilar metals, such as the mating of a CoCr modular neck with a titanium stem,
would not result in galvanic corrosion (“battery effect”) at a level that would be problematic for
patients.

164. Claims by Wright Medical that the mating of a Profemur® Plus CoCr Modular Neck
with a titanium stem would not result in galvanic corrosion (“battery effect”) at a level that would
be problematic for patients, were not supported by unbiased sound scientific testing.

165. Claims by Wright Medical that the mating of its Profemur® Plus CoCr Modular
Necks with its Profemur® titanium stems, would not result in galvanic corrosion (“battery effect”)
at a level that would be problematic for patients, were false and misleading.

166. The design of the Wright Medical Profemur® Plus CoCr modular neck, when
coupled with the design of the Wright Medical titanium Profemur® hip stems, is such that it in fact
promotes the process of galvanic corrosion (“battery effect”) at the modular neck/stem junction.

167. Prior to offering its Profemur® Plus CoCr Modular Necks for distribution or sale in
the United States, Wright Medical did not adequately test its design of Profemur® Plus CoCr
Modular Necks for fretting corrosion after implantation in patients.

168. Prior to offering its Profemur® Plus CoCr Modular Necks for distribution or sale in
the United States, Wright Medical did not adequately test its design of Profemur® Plus CoCr

Modular Necks for galvanic corrosion (“battery effect”) after implantation in patients.

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169. Prior to offering its Profemur® Plus CoCr Modular Necks for distribution or sale in
the United States, Wright Medical did not adequately test its design of Profemur® Plus CoCr
Modular Necks for galvanic corrosion (“battery effect”) when mated with titanium Profemur® hip
stems after implantation.

170. Wright Medical placed on the market its Profemur® Plus CoCr Modular Necks
without having adequately tested them for in vivo performance to resist fretting corrosion.

171. Wright Medical placed on the its Profemur® Plus CoCr Modular Necks without
having adequately tested them for in vivo performance to resist galvanic corrosion.

172. Wright Medical motive in going to market with its Profemur® Plus CoCr Modular
Necks to preserve market share and its profits from the sale of its Profemur® hip products,

173. The neck-stem junctions of the Profemur® Plus CoCr Modular Neck PHAC-1254,
coupled with a Profemur® titanium hip stem, are subject to significant micromovement which
results in significant fretting corrosion, galvanic corrosion, and metal ion release.

174. The neck-stem junctions of the Profemur® Plus CoCr Modular Neck PHAC-1254,
coupled with a Profemur® titanium hip stem, and the micromovement which results in significant
fretting corrosion, galvanic corrosion, and metal ion release, directly and proximately causes
adverse medical conditions which lead to the failure and need for revision of the patient’s hip.

175. C. Lowry Barnes, M.D., is an orthopedic surgeon who had for a time been a paid
consultant for Wright Medical.

176. C, Lowry Bames, M.D., was a named contributor to or author of various Profemur®
Surgical Techniques brochures for Wright Medical.

177, At the request of Wright Medical, C. Lowry Barnes, M.D., participated in the

design and development of the Wright Medical Profemur® Plus CoCr Modular Necks.

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178. Prior to June 18, 2013, C. Lowry Barnes, M.D., informed Wright Medical that its
Profemur® Plus CoCr Modular Necks were corroding after implantation in patients,

179. Prior to June 18, 2013, C. Lowry Barnes, M.D., informed Wright Medical that its
Profemur® Plus CoCr Modular Necks were corroding after implantation in patients, resulting in
the need for revision surgery to remove and replace the patient’s implanted Profemur® hip system.

180. Prior to June 18, 2013, C. Lowry Barnes, M.D., informed Wright Medical that its
Profemur® Plus CoCr Modular Necks were defective.

181. Prior to June 18, 2013, C. Lowry Barnes, M.D., informed Wright Medical that its
Profemur® Plus CoCr Modular Necks should immediately be removed from the market.

182. Wright Medical ignored the recommendations of its paid consultant, C. Lowry
Barnes, M.D., and continued to manufacture, distribute and sell its Profemur® Plus CoCr Modular
Necks for implantation in patients by orthopedic surgeons.

183. Prior to June 18, 2013, Wright Medical had been informed that its Profemur® Plus
CoCr Modular Necks would be subject to corrosion at the neck-stem junction.

184. Prior to June 18, 2013 Wright Medical had been informed that its Profemur® Plus
CoCr Modular Necks would be subject to fracture at the neck-stem Junction.

185. Prior to June 18, 2013, Wright Medical began to receive notice from surgeons that
its Profemur® Plus CoCr Modular Necks were corroding, resulting in the need for revision surgery
to remove and replace the patient’s implanted Profemur® hip system.

186. Prior to June 18, 2013, Wright Medical received notice that there had been a
fracture of a Profemur® Plus CoCr Modular Neck PHAC-1254.

187. As of the date of June 18, 2013, Wright Medical knew or should have known:

a. It had not adequately tested its Profemur® Plus CoCr Modular Necks to
simulate in vivo performance for resistance to fretting corrosion;

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b. It had not adequately tested its Profemur® Plus CoCr Modular Necks to
simulate in vivo performance for resistance to galvanic corrosion (“battery
effect’) its Profemur® Plus CoCr Modular Necks would be subject to
fretting corrosion;

c. There was an increased risk of fretting corrosion at the neck-stem junction;

d. There was an increased risk of galvanic corrosion (“battery effect”) at the
neck-stem junction; and,

e, The Profemur® Varus/Valgus 8 degree long modular necks had the highest
number, and the highest rate of fracture of the oblong taper in the pocket of
the stem.

188. On June 19, 2013, Wright Medical Group, Inc., the parent corporation of Wright
Medical Technology, Inc., publicly announced a definitive agreement under which MicroPort
Medical B.V., a subsidiary of MicroPort Scientific Corporation, would acquire Wright’s
OrthoRecon business, including hip implant products.

189. Upon information and belief, product complaint data reported to Wright Medical
prior to January 9, 2014, did indicate an increased risk of adverse events due to taper junction
fretting and corrosion for Wright Medical Profemur® Plus CoCr Modular Necks when coupled
with Wright Medical Profemur® hip stems, as compared to traditional titanium necks.

190. Upon information and belief, product complaint data reported to Wright Medical
prior to January 9, 2014, did indicate an increased risk of adverse events due to galvanic corrosion
(“battery effect”), as compared to traditional titanium necks when coupled with Wright Medical
Profemur® hip stems.

191. Prior to January 9, 2014, Wright Medical received notice that there had been

fractures of Profemur® Plus CoCr Modular Necks PHAC-1254.

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192. Based upon what Wright Medical knew or should have known as of January 9,
2014, a reasonable manufacturer would have ceased the distribution of the Wright Medical
Profemur® Plus CoCr Varus/Valgus 8 degree long modular necks, PHAC-1254, prior to that date,

193. Based upon what Wright Medical knew or should have known as of January 9,
2014, Wright Medical should have ceased the distribution of the Profemur® Plus CoCr Modular
Neck PHAC-1254, prior to that date.

194. Based upon what Wright Medical knew or should have known as of January 9,
2014, a reasonable manufacturer would have formally recalled the Profemur® Plus CoCr Modular
Neck PHAC-1254, prior to that date.

195. Based upon what Wright Medical knew or should have known as of January 9,
2014, Wright Medical should have formally recalled the Profemur® Plus CoCr Modular Neck
PHAC-1254, prior to that date. | |

196. Based upon what Wright Medical knew or should have known as of January 9,
2014, prior to that date a reasonable manufacturer would have published information that, contrary
to claims it had made in the past, product complaint data did indicated that there may be an
increased risk of adverse events due to taper junction fretting and corrosion for Wright Medical
Profemur® Plus CoCr Modular Necks when coupled with Wright Medical Profemur® hip stems.

197. Based upon what Wright Medical knew or should have known as of January 9,
2014, prior to that date Wright Medical should have informed orthopedic surgeons using its
Profemur® hip products that, contrary to claims it had made in the past, product complaint data did
indicated that there may be an increased risk of adverse events due to taper junction fretting and
corrosion for Wright Medical Profemur® Plus CoCr Modular Necks when coupled with Wright

Medical Profemur® hip stems.

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198. Based upon what Wright Medical knew or should have known as of January 9,
2014, prior to that date a reasonable manufacturer would have published information that, contrary
to claims it had made in the past, product complaint data did indicated that there may be an
increased risk of galvanic corrosion (“battery effect”) for Wright Medical Profemur® Plus CoCr
Modular Necks when coupled with Wright Medical Profemur® hip stems,

199. Based upon what Wright Medical knew or should have known as of January 9,
2014, prior to that date Wright Medical should have informed orthopedic surgeons using its
Profemur® hip products that, contrary to claims it had made in the past, product complaint data did
indicated that there may be an increased risk of galvanic corrosion (“battery effect”) for Wright
Medical Profemur® Plus CoCr Modular Necks when coupled with Wright Medical Profemur® hip
stems.

200. The neck-stem junctions of the Profemur® CoCr modular neck, coupled with a
Profemur® titanium hip stem, are subject to significant micromovement which result in fretting
corrosion, galvanic corrosion, and metal ion release.

201. The neck-stem junctions of the Profemur® CoCr modular neck, coupled with a
Profemur® titanium hip stem, and the micromovement which results in significant fretting
corrosion, galvanic corrosion, and metal ion release, directly and proximately causes adverse
medical conditions which lead to the failure, fracture of the neck, and need for revision of the hip.

202. Based upon the facts and allegations set forth above, the Profemur® CoCr modular
neck and Profemur® hip stem system are defective in their design in that the risks that were inherent
in this product being used for hip replacement, when weighed against the utility or benefit derived
from the product, outweigh the benefit which might have been gained by placing this defective

product in the body of Plaintiff Curtis L. Mahnken.

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203. Based upon the facts and allegations set forth above, the Profemur® CoCr modular
neck and Profemur® hip stem system are defective in their manufacturing in that they do not
comply with their intended design, specifications, in that the risks that were inherent in this product
being used for hip replacement, when weighed against the utility or benefit derived from the
product, outweigh the benefit which might have been gained by placing this defective product in
the body of Plaintiff Curtis L. Mahnken.

204. Based upon the facts and allegations set forth above, the Profemur® CoCr modular
neck and Profemur® hip stem system are defective in their labeling in that they do not perform as
represented, and the risks that were inherent in this product being used for hip replacement, when
weighed against the utility or benefit derived from the product, outweigh the benefit which might
have been gained by placing this defective product in the body of Plaintiff Curtis L. Mahnken.

205. Based upon the facts and allegations set forth above, the Profemur® Plus CoCr
Modular Necks are unreasonably dangerous in that the risks that were inherent in this product
being used for hip replacement, when weighed against the utility or benefit derived from the
product, outweigh the benefit which might have been gained by placing this defective product in
the body of Plaintiff Curtis L. Mahnken.

206. Defendants Wright Medical Technology, Inc. and MicroPort Orthopedics, Inc.,
each were negligent in their design, manufacture, distribution and sale, marketing, promotion, and
labeling of the Profemur® CoCr modular neck and the Profemur® hip stem system.

207. Defendants Wright Medical Technology, Inc. and MicroPort Orthopedics, Inc.,
were negligent in the failure to warn patients or surgeons that they had received product complaint
data that did indicate an increased risk of adverse events due to taper junction fretting and

corrosion.

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208. Defendants Wright Medical Technology, Inc. and MicroPort Orthopedics, Inc.,
were negligent in the failure to warn patients or Surgeons that they had received product complaint
data that did indicate an increased risk of adverse events due to galvanic corrosion (“battery
effect”),

209. Defendant Wright Medical Technology, Inc. was negligent in its failure to cease
distribution of the Wright Medical Profemur® CoCr Varus/Valgus 8° long modular necks, Catalog
# PHAC-1254, before the date of January 9, 2014.

210. At some point in time before January 9, 2014, Wright Medical began to receive
notice that its long Profemur® Plus CoCr Modular Necks PHAC- 1254, were fracturing.

211. On January 9, 2014, the Wright Medical OrthoRecon Operating segment, was sold
for approximately $285 million.

212, Inits form 10-Q, filed with the United States Securities and Exchange Commission,
for the quarter ended March 31, 2014, Wright Medical Group, Inc., the parent corporation of
Defendant Wright Medical Technology, Inc., states:

On January 9, 2014, pursuant to the previously disclosed Asset Purchase

Agreement, dated as of June 18, 2013 (the Purchase Agreement), by and among us,

MicroPort Scientific Corporation, a corporation formed under the laws of the

Cayman Islands (MicroPort), and MicroPort Medical B.V., a besloten

vennootschap formed under the laws of the Netherlands, we completed our

divesture and sale of our business operations operating under the OrthoRecon

Operating segment (the OrthoRecon Business) to MicroPort. Pursuant to the terms

of the Asset Purchase Agreement, the purchase price (as defined in the Purchase

Agreement) for the OrthoRecon Business was approximately $285 million

(including an estimated working capital target adjustment), which MicroPort paid

in cash.

213, The sale by Wright Medical of its OrthoRecon operating segment to MicroPort

included the Wright Medical Profemur® product line, and its manufacturing facilities in Arlington,

Tennessee.

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214. Prior to the sale by Wright Medical of its OrthoRecon operating segment to
MicroPort Ted Davis was the President of the Wright Medical OrthoRecon operating segment.

215. As President of the Wright Medical Wright Medical OrthoRecon operating
segment, Ted Davis would have been privy to and knowledgeable about the reports Wright
Medical was receiving of adverse clinical events associated with its Profemur Plus CoCr Modular
necks.

216. As President of the Wright Medical Wright Medical OrthoRecon operating
segment, Ted Davis would have been privy to and knowledgeable about the reports Wright
Medical was receiving that its Profemur® Plus CoCr Modular Necks PHAC-1254 were fracturing.

217. Defendant MicroPort Orthopedics, Inc., is the successor in interest to, or the United
States operating subsidiary of, MicroPort Scientific Corporation and MicroPort Medical B.V., that
had purchased the Wright Medical OrthoRecon operating segment.

218. Upon belief, prior to the sale of the Wright Medical OrthoRecon operating segment
to MicroPort on January 9, 2014, Wright Medical did not inform MicroPort that a surgeon who
had participated in the design and development of the Wright Medical Profemur® Plus CoCr
Modular Necks, C, Lowry Barnes, M.D., had informed Wright Medical that its Profemur® Plus
CoCr Modular Necks were corroding after implantation, were defective, and that the Profemur®
Plus CoCr Modular Necks should be immediately removed from the market.

219. Upon belief, prior to the sale of the Wright Medical OrthoRecon operating segment
to MicroPort on January 9, 2014, Wright Medical did not inform MicroPort that its Profemur®
Plus CoCr Modular Necks PHAC-1254 had been reported to be fracturing.

220. At the time of the sale of the Wright Medical OrthoRecon operating segment to

MicroPort, Ted Davis became President of MicroPort Orthopedics, Inc.

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221. Since the date of January 9, 2014 MicroPort Orthopedics, Inc., has had the
obligation to conduct post-market surveillance related to the Profemur® hip product line since
acquiring those products from Wright Medical in 2014.

222. Under section 522 of the Federal Food, Drug and Cosmetic Act (the Act), 21 U.S.C.
§ 360, and 21 CFR Part 822, MicroPort was obligated to conduct postmarket surveillance related
to the Profemur® Plus CoCr Modular Necks, the Profemur® LX Hip Stem, and the Conserve Total
Femoral head, among other devices.

223. MicroPort failed to comply with requirements of postmarket surveillance study
order PS110070, dated May 6, 2011, whereby the Food and Drug Administration (FDA) ordered
Wright Medical Technology, Inc. (Wright Medical), former proprietor of MicroPort Orthopedics,
Inc. (MicroPort), to conduct postmarket surveillance for the Profemur® LX Hip Stem, and the
Conserve Total Femoral head, among other devices.

224. Asa result of its purchase of the Wright Medical OrthoRecon operating segment
on January 9, 2014, MicroPort is legally liable for any design or manufacturing defects that may
exist in Wright Medical Profemur® Plus CoCr Modular Necks, regardless of when those CoCr
modular necks were manufactured, distributed, sold or implanted after that date.

225. Defendant Wright Medical has agreed to defend, indemnify and hold harmless
MicroPort for any liability it may have for injuries or damages caused by Profemur® Plus CoCr
Modular necks that were implanted in any patient before the date of January 9, 2014.

226. At some point in time after January 9, 2014, MicroPort began to receive notice of
Profemur® Plus CoCr Modular Neck, PHAC-1254, fractures in patients.

227. The fractures of the Profemur® Plus CoCr Modular Neck PHAC-1254 were all

occurring in the pocket of the Profemur® stem.

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228. No other versions of the Profemur® Plus CoCr Modular Necks have been reported
to have fractured, other than the Profemur® Plus CoCr Modular Neck PHAC-1254.

229. Prior to March 18, 2015 at least ten Profemur® Plus CoCr Modular Necks, PHAC-
1254, had ben reported to have fractured.

230. Prior to March 18, 2015, MicroPort was considering recall of the Profemur® Plus
CoCr Modular Necks, PHAC-1254.

231. While considering a recall of the Profemur® Plus CoCr Modular Necks, PHAC-
1254 prior to March 18, 2015, MicroPort did not inform surgeons using these devices that it had
begun to receive notice of fractures of the Profemur® Plus CoCr Modular Necks, PHAC-1254, and
those fractures were occurring at the neck-stem junction, similar to the hundreds of fractures that
had been reported in with the titanium Profemur Modular Necks.

232. While considering a recall of the Profemur® Plus CoCr Modular Necks, PHAC-
1254 prior to March 18, 2015, MicroPort did not inform surgeons using these devices that it had
begun to receive notice of fractures of the Profemur® Plus CoCr Modular Necks, PHAC-1254, and
those fractures were occurring at the neck-stem junction, similar to the fractures that had been
reported in with the titanium Profemur Modular Necks, PHAO-1254, the version of titanium
modular neck with the highest number and highest rate of fracture.

233. On August 7, 2015, MicroPort initiated Class 1 Voluntary Device Product Recall
for its Profemur® Plus CoCr Modular Neck PHAC-1254.

234. Class 1 recalls are the most serious type of recall and involve situations in which
there is a reasonable probability that use of these products will cause serious adverse health

consequences or death.

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235. MicroPort sent a letter dated August 7, 2015, via FedEx, to all affected customers,
wherein they were informed of a voluntary hip replacement recall by MicroPort Orthopedics Inc.;
surgeons, managers, distributors and hospitals were instructed to cease distributing and using the
Profemur® Plus CoCr Modular Neck PHAC-1254, for hip replacement surgeries,

236. By letter dated August 7, 2015, MicroPort Orthopedics Inc. informed distributors
and hospital staff of a voluntary device product recall. Distributors and hospital staff, including
tisk managers and surgeons, were instructed to stop using and distributing the affected product,
and retum the recalled product to MicroPort Orthopedics Inc. Distribution Center at 11481 Gulf
Stream, Arlington, Tennessee 38002.

237. All lots of the Profemur® Plus CoCr Modular Neck PHAC-1254 were subject to
the recall.

238. At the time MicroPort initiated the recall of the Profemur® Plus CoCr Modular
Neck PHAC-1254, it reported that 10,489 units was the quantity in commerce.

239. At the time MicroPort initiated the recall of the Profemur® Plus CoCr Modular
Neck PHAC-1254, more than 1,000 of these devices had been implanted in patients.

240. After the Class 1 Device Recall of the Profemur Plus CoCr Modular Neck PHAC-
1254 was initiated, MicroPort Orthopedics, Inc., terminated Ted Davis as its President and Chief
executive officer, September 8, 2015 being his last day of employment,

241. On September 28, 2015 the Class | Device Recall of the Profemur Plus CoCr
Modular Neck PHAC-1254 was “posted” by the FDA on its www.accessdata.fda.gov website.

242. The Profemur® Plus CoCr Modular Neck PHAC-1254 implanted in Plaintiff Curtis

L. Mahnken was one of the Profemur® Plus CoCr Modular Necks subject to the Class 1 Device

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Recall. Defendant MicroPort, was negligent in its failure to recall the Wright Medical Profemur®
CoCr modular neck before the date of March 18, 2015,

OPPRESSIVE, FRAUDULENT, MALICIOUS
AND GROSSLY NEGLIGENT CONDUCT

243. Considering all of the facts, as alleged above, going to market with the Profemur®
Plus CoCr Modular Necks is clear and convincing evidence of willful, oppressive, fraudulent, and
malicious conduct, was grossly negligent, and demonstrates a complete indifference to, and a
conscious disregard for the safety of patients.

244, The failure of Defendant Wright Medical Technology, Inc., to warn patients or
surgeons that they had received product complaint data that did indicate an increased risk of
fracture with the Profemur® Plus CoCr Modular Necks and adverse events due to taper junction
fretting and corrosion, is clear and convincing evidence of willful, oppressive, fraudulent, and
malicious conduct, was grossly negligent, and demonstrates a complete indifference to, and a
conscious disregard for the safety of patients,

245. The failure of Defendant Wright Medical Technology, Inc., to cease the distribution
of the Profemur® Plus CoCr Modular Neck PHAC-1254 before the date of January 9, 2014, is
clear and convincing evidence of willful, oppressive, fraudulent, and malicious conduct, was
grossly negligent, and demonstrates a complete indifference to, and a conscious disregard for the
safety of patients,

246. The failure of Defendant Wright Medical Technology, Inc., to recall Profemur®
Plus CoCr Modular Neck PHAC-1254 before the date of January 9, 2014, is clear and convincing
evidence of willful, oppressive, fraudulent, and malicious conduct, was grossly negligent, and

demonstrates a complete indifference to, and a conscious disregard for the safety of patients.

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247. The failure of Defendant Wright Medical Technology, Inc., to heed the advice of
its paid consultant, C, Lowry Barnes, M.D., to cease the distribution of the Profemur® Plus CoCr
Modular Necks, but to continue to market those dsviees for implantation by surgeons in patients,
is clear and convincing evidence of willful, oppressive, fraudulent, and malicious conduct, was
grossly negligent, and demonstrates a complete indifference to, and a conscious disregard for the
safety of patients.

248. The failure of Defendant Wright Medical Technology, Inc., to disclose to
MicroPort, prior to its purchase of the Profemur® product line on January 9, 2014, the truthful and
accurate history of the information and advice it had received about the defects in the Profemur®
Plus CoCr Modular Necks, and the risk those products posed to patients, and the fractures that
were occurring in the Profemur® Plus CoCr Modular Necks, PHAC-1254, is clear and convincing
evidence of willful, oppressive, fraudulent, and mmaticions conduct, was grossly negligent, and
demonstrates a complete indifference to, and a conscious disregard for the safety of patients.

249, The conduct of Ted Davis, who had been the President of the Wright Medical
OrthoRecon operating segment, and became the President and CEO of MicroPort, in allowing
MicroPort to continue to provide to surgeons for implantation in patients the Profemur® Plus CoCr
Modular Necks, PHAC-1254, knowing the truthful and accurate history of the information and
advice it had received about the defects in the Profemur® Plus CoCr Modular Necks, and the risk
those products posed to patients, and the fractures that were occurring in the Profemur® Plus CoCr
Modular Necks, PHAC-1254, is clear and convincing evidence of willful, oppressive, fraudulent,
and malicious conduct by MicroPort, was grossly negligent, and demonstrates a complete
indifference to, and a conscious disregard for the safety of patients on the part of Defendant

MicroPort.

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WARRANTIES
Wright Medical Titanium Profemur Modular Necks

250. Statements and representations made by Defendant Wright Medical Technology,
Inc., as set forth in this Complaint, constitutes express warranties as to the performance, durability,
and capabilities of the Wright Medical Profemur modular necks, and the Wright Medical artificial
hip stems they were intended to be used with.

251. By law certain implied warranties of merchantability and fitness for intended use
are applicable to the Wright Medical Profemur® modular necks, and the Wright Medical artificial
hip stems they were intended to be used with.

252. The micromotion, fretting corrosion, galvanic corrosion, and fracture of the
Plaintiff Curtis L. Mahnken’s Wright Medical Profemur® Modular Neck at the junction with the
Profemur® Stem was a breach of the applicable express warranties of Defendant Wright Medical
Technology, Inc,

253. The failure of the Plaintiff Curtis L. Mahnken’s Wright Medical Profemur®
modular neck coupled with the Plaintiff's Wright Medical hip stem was a breach of the applicable
express warranties of Defendant Wright Medical Technology, Inc.

254. The micromotion, fretting corrosion, galvanic corrosion, and fracture of the
Plaintiff Curtis L. Mahnken’s Profemur® Modular Neck at the junction with the Profemur® Stem
was a breach of the applicable implied warranties of merchantability and fitness for intended use
by Defendant Wright Medical Technology, Inc.

255. The failure of the Plaintiff Curtis L. Mahnken’s Wright Medical Profemur modular

neck coupled with the Plaintiffs Wright Medical hip stem was a breach of the applicable implied

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warranties of merchantability and fitness for intended use by Defendant Wright Medical
Technology, Inc., that are applicable to this product.
MicroPort Profemur Plus CoCr Modular Necks, PHAC-1254

256. Statements and representations made by Defendant MicroPort, as set forth in this
Complaint, constitutes express warranties as to the performance, durability, and capabilities of the
Wright Medical Profemur modular necks, and the MicroPort artificial hip stems they were
intended to be used with,

257. By law certain implied warranties of merchantability and fitness for intended use
are applicable to the MicroPort Profemur® Plus CoCr Modular Necks, PHAC-1254, and the
artificial hip stems they were intended to be used with.

258. The micromotion, fretting corrosion, galvanic corrosion, and fracture of the
Plaintiff Curtis L. Mahnken’s MicroPort Profemur® Plus CoCr Modular Necks, PHAC-1254, at
the junction with the Profemur® Stem was a breach of the applicable express warranties of
Defendant MicroPort.

259. The failure of the Plaintiff Curtis L, Mahnken’s the MicroPort Profemur® Plus
CoCr Modular Necks, PHAC-1254, coupled with the Plaintiff's Profemur® hip stem, was a breach
of the applicable express warranties of Defendant MicroPort.

260. The micromotion, fretting corrosion, galvanic corrosion, and fracture of the
Plaintiff Curtis L. Mahnken’s MicroPort Profemur® Plus CoCr Modular Necks, PHAC-1254, at
the junction with the Profemur® Stem was a breach of the applicable implied warranties of
merchantability and fitness for intended use by Defendant MicroPort,

261. The failure of the Plaintiff Curtis L. Mahnken’s Profemur® Plus CoCr Modular

Necks, PHAC-1254, coupled with the Plaintiffs Profemur® hip stem was a breach of the

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applicable implied warranties of merchantability and fitness for intended use by Defendant
MicroPort, that are applicable to this product.
PLAINTIFF’S INJURIES AND DAMAGES

262. On or about March 16, 2015, due to micromotion and fretting corrosion of the
oblong taper of the Wright Medical titanium Profemur® Modular Neck where it seated in the
pocket of the Profemur® stem, the Wright Medical Profemur® Modular Neck implanted in Plaintiff
Curtis L. Mahnken’s hip catastrophically failed, breaking into two pieces, causing physical injury
to the Plaintiff.

263. On or about January 27, 2018, due to micromotion and fretting corrosion of the
oblong taper of the Profemur® Plus CoCr, PHAC-1254 Modular Neck where it seated in the pocket
of the Profemur® stem, the Profemur® Plus CoCr Modular Neck implanted in Plaintiff Curtis L.
Mahnken’s hip catastrophically failed, treaidie into two pieces, causing physical injury to the
Plaintiff.

264. As a direct and proximate result of the conduct of Defendant Wright Medical
Technology, Inc., and the conduct of Defendant MicroPort Orthopedics, Inc., as set forth in this
Complaint, Plaintiff Curtis L. Mahnken sustained injuries and damages including, but not limited
to undergoing surgeries to remove and replace his failed Profemur hip devices; past and future
pain and anguish, both in mind and in body; permanent diminishment of his ability to participate
in and enjoy the affairs of life: medical bills associated with the replacement procedure and
recovery therefrom; future medical expenses; loss of enjoyment of life; loss of past and future
earnings and earning capacity; disfigurement; physical impairment, and other injuries not fully

known at this time.

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265. Plaintiff Curtis L. Mahnken’s injuries suffered were both factually and proximately
caused by the defective products of the Defendant Wright Medical Technology, Inc.

266. Plaintiff Curtis L. Mahnken’s injuries suffered were both factually and proximately
caused by the unreasonably dangerous products of the Defendant Wright Medical Technology,
Inc.

267. Plaintiff Curtis L. Mahnken’s injuries suffered were both factually and proximately
caused by the defective products of the Defendant Defendant MicroPort Orthopedics, Inc.

268. Plaintiff Curtis L. Mahnken’s injuries suffered were both factually and proximately
caused by the unreasonably dangerous products of the Defendant MicroPort Orthopedics, Inc.

269. Plaintiff Curtis L. Mahnken is entitled to recover for all economic and special
damages incurred, including but not limited to damages for subsequent surgeries, rehabilitative
services, follow up doctor visits and all expenditures incurred as a result of the additional
operations and follow up procedures.

270. Plaintiff Curtis L. Mahnken is entitled to recovery for lost wages, having been
disabled and diminished ability to earn income.

271. Plaintiff Curtis L. Mahnken is entitled to compensation for permanent disability as
a result of the failure of this hip replacement device which caused substantial injury.

272. Plaintiff Curtis L. Mahnken further shows that he is entitled to recover for all
noneconomic and compensatory damages allowed by law, including, but not limited to, pain and
suffering for all pain and suffering that he has incurred as a result of the defective product, the
follow-up surgery, rehabilitation, and constant pain that occurs as a result of the failure of the
product.

LIABILITY

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COUNT I
NEGLIGENCE of WRIGHT MEDICAL
Titanium Profemur® Modular Neck

Plaintiff incorporates by reference as if fully set forth verbatim each and every allegation
in this Complaint.

273. Defendant Wright Medical Technology, Inc., owed a duty of reasonable care to the
general public, including the Plaintiff, when it designed, manufactured, assembled, inspected,
tested, marketed, placed into the stream of commerce, and sold the titanium Wright Medical
Profemur® Varus/Valgus 8 degree long Profemur modular neck, part number PHAO-1254, and the
Wright Medical Profemur® Total Hip System, to assure that the Wright Medical Profemur®
modular neck, and the Wright Medical Profemur® Total Hip System were not defective and/or
unreasonably dangerous for their intended purposes and foreseeable uses.

274. Defendant Wright Medical Technology, Inc., breached this duty by designing,
manufacturing, assembling, inspecting, testing, labeling, marketing, distributing and selling the
titanium Wright Medical Profemur® Modular Neck, and the Wright Medical Profemur® Total Hip
System in a defective and unreasonably unsafe condition including, but not limited to, its
propensity for metal on metal failure.

275. Defendant Wright Medical Technology, Inc., owed Plaintiff a duty of reasonable
care to:

a. Adequately design the Wright Medical Profemur® hip system so that
it would not fracture at the neck-stem junction when being used as
intended and expected in the intended patient population;

b. Adequately test the Wright Medical Profemur® hip system to ensure
that it was adequately designed and would not fracture at the neck-
stem junction when being used as intended and expected in the
intended patient population;

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C: Reasonably label and market the Wright Medical Profemur® hip
system so as to not misrepresent the clinical history of the Profemur
modular necks fracturing;

d. Reasonably label and market the Wright Medical Profemur® hip
system so as to not misrepresent the patient population that these
devices were intended to be implanted in;

€: Reasonably label and market the Wright Medical Profemur™ hip
system so as to not misrepresent the performance characteristics of
these devices;

f. Discover the defect(s) and to inform and/or warn Plaintiff, or his
surgeons, of any defect(s), once discovered; and,

g. Discover the misrepresentation(s) and to inform and/or warn
Plaintiff, or his surgeons, of any misrepresentation(s), once
discovered.

276. The conduct, actions, inactions, concealment, and misrepresentations of Defendant
Wright Medical Technology, Inc., as set forth above in this Complaint, were and are a breach of
these duties, and is negligence.

277. Defendant Wright Medical Technology, Inc., otherwise was negligent in the
particulars set forth in this Complaint, and such negligence was a direct and proximate cause of
the incident and injuries set forth herein.

278. The negligence of Defendant Wright Medical Technology, Inc., as set forth in this
Complaint, directly and proximately caused the injuries and damages alleged in this Complaint.

COUNT II
NEGLIGENCE of WRIGHT MEDICAL, and MICROPORT
Profemur® Plus CoCr Modular Neck

Plaintiff incorporates by reference as if fully set forth verbatim each and every allegation

in this Complaint.

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279. Defendant Wright Medical Technology, Inc., owed a duty of reasonable care to the
general public, including the Plaintiff, when it designed the Profemur® Plus CoCr Modular Neck,
PHAC-1254, to assure that the Profemur® CoCr modular neck, when mated with the Wright
Medical Profemur® Total Hip System, were not defective and/or unreasonably dangerous for their
intended purposes and foreseeable uses.

280. Defendant Wright Medical Technology, Inc., breached its duty of reasonable care
to the general public, including the Plaintiff, when it designed the Profemur® Plus CoCr Modular
Neck, PHAC-1254, in that the Profemur® CoCr modular neck, when mated with the Wright
Medical Profemur® Total Hip System, is defective and/or unreasonably dangerous for their
intended purposes and foreseeable uses.

281. Defendant Wright Medical Technology, Inc., owed a duty of reasonable care to the
general public, including the Plaintiff, when it manufactured the Profemur® Plus Modular Neck,
PHAC-1254, to assure that the Profemur® Plus CoCr modular neck, when mated with the Wright
Medical Profemur® Total Hip System, was:

a. Manufactured in conformance with its intended design specifications;

b. Manufactured without defects; and,

c. Not defective and/or unreasonably dangerous for their intended purposes and
foreseeable uses.

(282, Defendant Wright Medical Technology, Inc., breached its duty of reasonable care
to the general public, including the Plaintiff, when it manufactured the Profemur® Plus Modular
Neck, PHAC-1254, in that the Profemur® Plus CoCr modular neck, when mated with the Wright
Medical Profemur® Total Hip System, were:

a. Not manufactured in conformance with its intended design specifications;

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b. Manufactured with defects; and,
c. Were defective and/or unreasonably dangerous for their intended purposes and
foreseeable uses.

283. Defendant Wright Medical Technology, Inc., owed Plaintiff a duty of reasonable
care to discover the defect(s) in design and to inform and/or warm Plaintiff, or his surgeons, of the
defect(s) once it or they were discovered, and Defendants failed to do so further placing Plaintiff
at risk for harm and injury.

284, Defendant Wright Medical Technology, Inc., owed Plaintiff a duty of reasonable
care to discover the defect(s) in manufacture of the PHAC-1254 modular neck and to inform and/or
warn Plaintiff, or his surgeons, of the defect(s) once it or they were discovered, and Defendants
failed to do so further placing Plaintiff at risk for harm and injury.

285. Defendant Wright Medical Technology, Inc., breached its duty of reasonable care
in that it did not discover the defects and inform and/or warn Plaintiff, or his surgeons, of the
defects once it was discovered, placing Plaintiff at risk for harm and injury.

286. Defendant MicroPort Orthopedics, Inc., owed Plaintiff a duty of reasonable care to
discover the defects and to inform and/or warn Plaintiff, or his surgeons, of the defects once
discovered, and Defendants failed to do so further placing Plaintiff at risk for harm and injury.

287. Defendant MicroPort Orthopedics, Inc., breached its duty of reasonable care in that
it did not discover the defects and to inform and/or warn Plaintiff, or his surgeons, of the defects
once discovered, placing Plaintiff at risk for harm and injury.

288. Defendant Wright Medical Technology, Inc., owed a duty of reasonable care to:

a. Timely inform surgeons using its products of the issue of corrosion

at the neck-stem junction with the Profemur® Plus CoCr Modular
Necks;

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b. Remove the Profemur® Plus CoCr Modular Neck, PHAC-1254 from
the market once it became aware of the issue of corrosion at the
neck-stem junction;

C: Recall Profemur® Plus CoCr Modular Neck, PHAC-1254, from the
market once it became aware of the issue of corrosion at the neck-
ster junction;

d. Timely inform surgeons, including the plaintiffs surgeon,
including the Plaintiff's surgeon, of the issue of fractures at the
neck-stem junction with the Profemur® Plus CoCr Modular Necks,
PHAC-1254;

e. Remove the Profemur® Plus CoCr Modular Neck, PHAC-1254,
from the market once it became aware of the issue of fractures at the
neck-stem junction.

fi Once it became aware of the issue of corrosion at the neck-stem
junction of the Profemur® Plus CoCr Modular Neck, to inform
MicroPort of that issue before MicroPort purchased the Wright
Medical OrthoRecon operating segment.

g. Once it became aware of the issue of fractures at the neck-stem
junction of the Profemur® Plus CoCr Modular Neck, PHAC-1254,
to inform MicroPort of that issue before MicroPort Purchased the
Wright Medical OrthoRecon operating segment.

289. Defendant Wright Medical Technology, Inc., breached these duties of reasonable care
in that it failed to:

a. Timely inform surgeons using its products of the issue of corrosion
at the neck-stem junction with the Profemur® Plus CoCr Modular
Necks;

b. Remove the Profemur® Plus CoCr Modular Neck, PHAC-1254 from
the market once it became aware of the issue of corrosion at the
neck-stem junction;

C Recall Profemur® Plus CoCr Modular Neck, PHAC-1254, from the
market once it became aware of the issue of corrosion at the neck-
stem junction;

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d. Timely inform surgeons using its products of the issue of fractures
at the neck-stem junction with the Profemur® Plus CoCr Modular
Necks, PHAC-1254;

€. Remove the Profemur® Plus CoCr Modular Neck, PHAC-1254,
from the market once it became aware of the issue of fractures at the
neck-stem junction.

f. Timely inform MicroPort once it became aware of the issue of
corrosion at the neck-stem junction of the Profemur® Plus CoCr
Modular Neck, before MicroPort purchased the Wright Medical
OrthoRecon operating segment.

g. Timely inform MicroPort once it became aware of the issue of
fractures at the neck-stem junction of the Profemur® Plus CoCr
Modular Neck, PHAC-1254, before MicroPort Purchased the
Wright Medical OrthoRecon operating segment.

290. Defendant MicroPort Orthopedics, Inc., owed a duty of reasonable care to:

a. Timely inform surgeons using its products of the issue of corrosion
at the neck-stem junction with the Profemur® Plus CoCr Modular
Necks;

b, Remove the Profemur® Plus CoCr Modular Neck, PHAC-1254 from
the market once it became aware of the issue of corrosion at the
neck-stem junction;

C Recall Profemur® Plus CoCr Modular Neck, PHAC-1254, from the
market once it became aware of the issue of corrosion at the neck-
stem junction;

d. Timely inform surgeons using its products, including the Plaintiff's

surgeon, of the issue of fractures at the neck-stem junction with the
Profemur® Plus CoCr Modular Necks, PHAC-1254; and,

e. Remove the Profemur® Plus CoCr Modular Neck, PHAC-1254,
from the market once it became aware of the issue of fractures at the
neck-stem junction.

291. Defendant MicroPort Orthopedics, Inc., breached these duties of reasonable care in

that it failed to:

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a. Timely inform surgeons using its products of the issue of corrosion
at the neck-stem junction with the Profemur® Plus CoCr Modular
Necks;

b. Remove the Profemur® Plus CoCr Modular Neck, PHAC-1254 from
the market once it became aware of the issue of corrosion at the
neck-stem junction;

é: Recall Profemur® Plus CoCr Modular Neck, PHAC-1254, from the
market once it became aware of the issue of corrosion at the neck-
stem junction;

d. Timely inform surgeons using its products of the issue of fractures

at the neck-stem junction with the Profemur® Plus CoCr Modular
Necks, PHAC-1254; and,

€: Remove the Profemur® Plus CoCr Modular Neck, PHAC-1254,

from the market once it became aware of the issue of fractures at the
neck-stem junction.

292. The conduct actions, inactions, concealment, and misrepresentations of Defendant
Wright Medical Technology, Inc., and Defendant MicroPort Orthopedics, Inc., as set forth above
in this Complaint, were and are a breach of these duties, and is negligence.

293. Defendant Wright Medical Technology, Inc., and Defendant MicroPort
Orthopedics, Inc., otherwise were each negligent in the particulars set forth in this Complaint.

294. The negligence of Defendant Wright Medical Technology, Inc., and Defendant
MicroPort Orthopedics, Inc., as set forth in this Complaint, directly and proximately caused the
injuries and damages alleged in this Complaint.

COUNT 111

NEGLIGENCE of MICROPORT
Profemur® Plus CoCr Modular Neck

(Conduct of Jamie Sease)

Plaintiff incorporates by reference as if fully set forth verbatim each and every allegation

in this Complaint.

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295. Defendant MicroPort, as the distributor of the Profemur® Plus CoCr Modular Neck,
PHAC-1254, and with its employee, Jamie Sease, having previously been a direct employee and
Product Development Engineer of Wright Medical Profemur® hip products in the past, knew or
should have known history of the titanium Profemur® Modular Neck PHAO-1254 fractures, and
the history of the Profemur® Plus CoCr Modular Neck neck-stem corrosion, and the history of the
Profemur® Plus CoCr Modular Neck PHAC-1254 fractures.

296. Defendant MicroPort, as the distributor of the Profemur® Plus CoCr Modular Neck,
PHAC-1254, and with its employee, Jamie Sease, having been a direct employee and Product
Development Engineer of Wright Medical Profemur® hip products in the past, owed a duty of
reasonable care to the Plaintiff, and to his surgeon, to disclose to disclose, prior to the Plaintiff's
March 18, 2015 revision hip surgery:

a. The Profemur® Modular Neck PHAO-1254 was the version of

Profemur Modular neck that had the highest number of fractures,
and the highest rate of fractures;

b. The Profemur® Plus CoCr Modular Neck PHAC-1254 was the same

length and angulation as the PHAO-1254 modular neck;

c: There were clinical reports of the Profemur® Plus CoCr Modular
Necks PHAC-1254 having fractured at the neck-stem junction; and,

d. There were clinical reports of the Profemur® Plus CoCr Modular
Necks having corroded at the neck-stem junction when mated with
Profemur® titanium hip stems, resulting in revision of the hip joint.

297. Defendant MicroPort, as the distributor of the Profemur® Plus CoCr Modular Neck,
PHAC-1254, and with its employee, Jamie Sease, having been a direct employee and Product

Development Engineer of Wright Medical Profemur® hip products in the past, breached its duty

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of reasonable care to the Plaintiff, and to his surgeon, by failing to disclose to Plaintiff's Surgeon,
prior to the Plaintiff's March 18, 2015 revision hip surgery:
a. The Profemur® Modular Neck PHAO-1254 was the version of
Profemur Modular neck that had the highest number of fractures,
and the highest rate of fractures;
b. The Profemur® Plus CoCr Modular Neck PHAC-1254 was the same
length and angulation as the PHAO-1254 modular neck;

c. There were clinical reports of the Profemur® Plus CoCr Modular
Necks PHAC-1254 having fractured at the neck-stem junction.

d. There were clinical reports of the Profemur® Plus CoCr Modular
Necks having corroded at the neck-stem junction when mated with
Profemur® titanium hip stems, resulting in revision of the hip joint;
and,

e. There were clinical reports of the Profemur® Plus CoCr Modular
Necks PHAC-1254 having fractured at the neck-stem junction.

298. Defendant MicroPort, as the distributor of the Profemur® Plus CoCr Modular Neck,
PHAC-1254, and with its espe Jamie Sease, having been a direct employee and Product
Development Engineer of Wright Medical Profemur® hip products in the past, was otherwise
negligent in the particulars set forth in this Complaint.

299. The negligence of Defendant MicroPort Orthopedics, Inc., as set forth in this

Complaint, directly and proximately caused the injuries and damages alleged in this Complaint.

COUNT IV
NEGLIGENCE of PELLMED, LLC.
Profemur® Plus CoCr Modular Neck

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Plaintiff incorporates by reference as if fully set forth verbatim each and every allegation
in this Complaint.
300. Defendant PellMed, LLC, as the distributor of the Profemur® Plus CoCr Modular
Neck, PHAC-1254, and with its owner, officer, and director, Chuck Pellegrino having been a direct
employee and sales representative of Wright Medical Profemur® hip products in the past, knew or
should have known history of the titanium Profemur® Modular Neck PHAO-1254 fractures, and
the history of the Profemur® Plus CoCr Modular Neck neck-stem corrosion, and the history of the
Profemur® Plus CoCr Modular Neck PHAC-1254 fractures.
301. Defendant PellMed, LLC, as the distributor of the Profemur® Plus CoCr Modular
Neck, PHAC-1254, and with its owner, officer, and director, Chuck Pellegrino, having been a
direct employee of Weight Medical, and having been trained by Wright Medical to be a Profemur®
hip product sales representative in the past, owed a duty of reasonable care to the Plaintiff, and to
his surgeon, to disclose to disclose, prior to the Plaintiff's March 18, 2015 revision hip surgery:
a. The Profemur® Modular Neck PHAO-1254 was the version of
Profemur Modular neck that had the highest number of fractures,
and the highest rate of fractures;
b. The Profemur® Plus CoCr Modular Neck PHAC-1254 was the same

length and angulation as the PHAO-1254 modular neck;

G: There were clinical reports of the Profemur® Plus CoCr Modular
Necks PHAC-1254 having fractured at the neck-stem junction; and,

d. There were clinical reports of the Profemur® Plus CoCr Modular
Necks having corroded at the neck-stem junction when mated with
Profemur® titanium hip stems, resulting in revision of the hip joint.

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302. Defendant PellMed, LLC, as the distributor of the Profemur® Plus CoCr Modular
Neck, PHAC-1254, and with its owner, officer, and director, Chuck Pellegrino, having been a
direct employee of Weight Medical, and having been trained by Wright Medical to be a Profemur®
hip product sales representative in the past, breached its duty of reasonable care to the Plaintiff,
and to his surgeon, by failing to disclose to Plaintiff's Surgeon, prior to the Plaintiff's March 18,
2015 revision hip surgery:
a. The Profemur® Modular Neck PHAO-1254 was the version of
Profemur Modular neck that had the highest number of fractures,
and the highest rate of fractures;
b. The Profemur® Plus CoCr Modular Neck PHAC-1254 was the same
length and angulation as the PHAO-1254 modular neck;

o: There were clinical reports of the Profemur® Plus CoCr Modular
Necks PHAC-1254 having fractured at the neck-stem junction; and,

d. There were clinical reports of the Profemur® Plus CoCr Modular
Necks having corroded at the neck-stem junction when mated with
Profemur® titanium hip stems, resulting in revision of the hip joint.

303. Defendant PellMed, LLC, as the distributor of the Profemur® Plus CoCr Modular
Neck, PHAC-1254, and with its owner, officer, and director, Chuck Pellegrino, having been a
direct employee of Weight Medical, and having been trained by Wright Medical to be a Profemur®
hip product sales representative in the past, was otherwise negligent in the particulars set forth in
this Complaint.

304. The negligence of Defendant PellMed, LLC, as set forth in this Complaint, directly

and proximately caused the injuries and damages alleged in this Complaint.

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COUNT V
STRICT PRODUCTS LIABILITY
for
DEFECTIVE DESIGN and FAILURE TO WARN

by
WRIGHT MEDICAL
for the Titanium Profemur® Modular Neck

305. Plaintiff incorporates by reference as if fully set forth verbatim each and every
allegation in the Complaint.

306. The titanium Wright Medical Profemur® Modular Neck, and the Wright Medical
Profemur® Total Hip System, used in Plaintiffs index hip replacement surgery were not
reasonably safe for their intended uses and were defective as described herein with respect to the
design.

307. The Wright Medical titanium Profemur® Modular Neck, and the Wright Medical
Profemur® Total Hip System, possessed defective and dangerous characteristics, as described
herein, and the Defendant Wright Medical Technology, Inc., failed to use reasonable care to
provide an adequate warning of such characteristics and their dangers to health care providers and
patients, including Plaintiff.

308.  Atthe time of the incident set forth herein, the Wright Medical Profemur® Modular
Neck, and the Wright Medical Profemur® Total Hip System were dangerous to an extent beyond
that which would be contemplated by the ordinary health care provider, and patient, with the
ordinary knowledge common to the medical community as to the products’ characteristics.

309, Health care providers and patients, including Plaintiff, did not know and should not
have been expected to know of the dangerous characteristics of the Wright Medical titanium

Profemur® Modular Neck, and the Wright Medical Profemur® Total Hip System, which had the

potential to cause injury and damage.

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310. As a direct and proximate result of the Defendant Wright Medical Technology,
Inc.’s, failure to warn, Plaintiff sustained serious injuries and was damaged.

311. To the extent that Defendant MicroPort Orthopedics, Inc., has assumed or acquired
legal liability related to the Wright Medical Profemur® CoCr long varus/valgus 8 degree modular
neck, part number PHAC-1254, by its acquisition of the Wright Medical OrthoRecon operating
segment in January 2014, Defendant MicroPort Orthopedics, Inc., is liable to the Plaintiff for the
conduct, injuries, and damages alleged in this count of this Complaint.

312. The conduct of Defendant Wright Medical Technology, Inc., as set forth in this
Complaint, directly and proximately caused the injuries and damages alleged in this Complaint.

COUNT VI
STRICT PRODUCTS LIABILITY

for

DEFECTIVE DESIGN and/or MANUFACTURE and/or FAILURE TO WARN
by
WRIGHT MEDICAL and MICROPORT
Profemur® Plus CoCr Modular Neck PHAC-1254
Plaintiff incorporates by reference as if fully set forth verbatim each and every allegation

in the Complaint.

313. Profemur® Plus CoCr Modular Neck, PHAC-1254, and the Profemur® Total Hip
System used in Plaintiff's revision hip surgery were not reasonably safe for their intended uses and

were defective as described herein with respect to the design.

314. Profemur® Plus CoCr Modular Neck, PHAC-1254, and the Profemur® Total Hip
System used in Plaintiff's revision hip surgery were not reasonably safe for their intended uses and

were defective as described herein with respect to their manufacture.

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315. To the extent that Defendant MicroPort Orthopedics, Inc., has assumed or acquired
legal liability related to the Wright Medical Profemur® Plus CoCr Modular Neck, PHAC-1254, by
its acquisition of the Wright Medical OrthoRecon operating segment in January 2014, Defendant
MicroPort Orthopedics, Inc., is liable to the Plaintiff for the conduct, injuries, and damages alleged
in this count of this Complaint attributable Defendant Wright Medical.

316. The conduct of Defendant Wright Medical Technology, Inc., and MicroPort
Orthopedics, Inc., as set forth in this Complaint, directly and proximately caused the injuries and
damages alleged in this Complaint.

317. The Wright Medical Profemur® Plus Modular Neck, PHAC-1254, and the Wright
Medical Profemur® Total Hip System were further rendered unreasonably dangerous because the
Defendant Wright Medical Technology, Inc., and Defendant MicroPort, failed to provide an
adequate warning to surgeons, and to the Plaintiff, regarding the hazards associated with the
reasonable and foreseeable use of Wright Medical Profemur® Plus Modular Neck, PHAC-1254,
and the Wright Medical Profemur® Total Hip System.

318. The Wright Medical Profemur® Plus Modular Neck, PHAC-1254, and the Wright
Medical Profemur® Total Hip System, possessed defective and dangerous characteristics, as
described herein, which caused damage, and the Defendant Wright Medical Technology, Inc.,
failed to use reasonable care to provide an adequate warning of such characteristics and their
dangers to health care providers and patients, including Plaintiff.

319, At the time of the incident set forth herein, the Wright Medical Profemur® Plus
Modular Neck, PHAC-1254, and the Wright Medical Profemur® Total Hip System, were

dangerous to an extent beyond that which would be contemplated by the ordinary health care

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provider and patient, with the ordinary knowledge senor to the medical community as to the
products’ characteristics.

320. Health care providers and patients, including Plaintiff, did not know and should not
have been expected to know of the dangerous characteristics of the Wright Medical Profemur®
Plus Modular Neck, PHAC-1254, and the Wright Medical Profemur® Total Hip System, which
had the potential to cause injury and damage.

321. As a direct and proximate result of the Defendant Wright Medical Technology,
Inc.’s, failure to warn, Plaintiff sustained serious injuries and was damaged.

322. To the extent that Defendant MicroPort Orthopedics, Inc., has assumed or acquired
legal liability related to the Wright Medical Profemur® CoCr long varus/valgus 8 degree modular
neck, part number PHAC-1254, by its acquisition of the Wright Medical OrthoRecon operating
segment in January 2014, Defendant MicroPort Orthopedics, Inc., is liable to the Plaintiff for the

conduct, injuries, and damages alleged in this count of this Complaint.

COUNT VII
BREACH OF WARRANTY
WRIGHT MEDICAL and MICROPORT

Plaintiff incorporates by reference as if fully set forth verbatim each and every allegation

in the Complaint.

323. Defendant Wright Medical Technology, Inc., and MicroPort Orthopedics, Inc.,
each warranted, both expressly and impliedly, through their marketing, advertising, distributors
and sales representatives, that Profemur® Modular Necks, and the Profemur® Total Hip System

were of merchantable quality, fit for the ordinary purposes and uses for which they were sold.

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324. The Defendant Wright Medical Technology, Inc., and MicroPort Orthopedics, Inc.,
each were aware that orthopedic surgeons, including the plaintiffs orthopedic surgeons rely upon
the representations made by the Defendants and their representatives when choosing, selecting and
purchasing its products, including the Profemur® Modular Necks, and the Profemur® Total Hip
System.

325. Due to the defective and unreasonably dangerous design and manufacture of the
Wright Medical titanium Profemur® Modular Neck, PHAO-1254, and the Wright Medical
Profemur® Total Hip System, it was neither of merchantable quality nor fit for the ordinary

purposes for which it was sold, presenting an unreasonable risk of injury to patients, including

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Plaintiff, for expected and foreseeable use.

326. Due to the defective and unreasonably dangerous design and manufacture of the
Profemur® Plus CoCr Modular Neck, PHAC-1254, and the Wright Medical Profemur® Total Hip
System, it was neither of merchantable quality nor fit for the ordinary purposes for which it was
sold, presenting an unreasonable risk of injury to patients, including Plaintiff, for expected and

foreseeable use.

327. The defective and unreasonably dangerous condition of the Wright Medical
titanium Profemur® Modular Neck, PHAO-1254, and the Wright Medical Profemur® Total Hip
System, constituted a breach of the Defendant Wright Medical Technology, Inc.’s express and
implied warranties, and such breach was a direct and proximate cause of the incident and injuries
described herein,

328. The defective and unreasonably dangerous condition of the Wright Medical
Profemur® Plus CoCr Modular Neck, PHAC-1254, and the Wright Medical Profemur® Total Hip

System constituted a breach of the Defendant Wright Medical Technology, Inc.’s and MicroPort

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Orthopedics, Inc., express and implied warranties, and such breach was a direct and proximate
cause of the incident and injuries described herein.

329. To the extent that Defendant MicroPort Orthopedics, Inc., has assumed or acquired
legal liability related to the Wright Medical Profemur® CoCr long varus/valgus 8 degree modular
neck, part number PHAC-1254, by its acquisition of the Wright Medical OrthoRecon operating
segment in January 2014, Defendant MicroPort Orthopedics, Inc., is liable to the Plaintiff for the
conduct, injuries, and damages alleged in this count of this Complaint.

COUNT VIL
NEGLIGENT and INTENTIONAL MISREPRESENTATION; FRAUD
WRIGHT MEDICAL

Plaintiff incorporates by reference as if fully set forth verbatim each and every allegation

in the Complaint.

330. Defendant Wright Medical Technology, Inc., had a duty to accurately and truthfully
disclose and represent to surgeons, Plaintiff, and the public, the clinical history of the Wright
Medical titanium Profemur® modular necks.

331. The representations as to the clinical history of the Wright Medical titanium
Profemur® modular necks that the Defendant Wright Medical Technology, Inc., made to surgeons,
as set forth above,

The modular neck used with the Profemur® Hip has been employed by Wright

Cremascoli for over 15 years. The necks were designed in 1985 and have been

successfully implanted in over 50,000 patients requiring both primary and revision

hip procedures. The necks are used in other Wright Cremascoli hip systems besides

the Profemur® Hip. None of the necks has experienced a clinical failure since

their inception. [emphasis added]

were false when made, and Wright Medical knew that they were false when made.

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332. Defendant Wright Medical Technology, Inc., knew that surgeons would rely on the
clinical history of the Profemur® modular necks it provided in deciding to use, or deciding to
continue to use, the Profemur® products in their patients.

333. The conduct of Defendant Wright Medical Technology, Inc., in making the false
representations of the clinical history of the Profemur® modular necks, and continuing to make
that false representation, was negligent.

334. The conduct of Defendant Wright Medical Technology, Inc., in making the false
representations of the clinical history of the Profemur™ modular necks, and continuing to make
that false representation, was an intentional misrepresentation.

335, The conduct of Defendant Wright Medical Technology, Inc., in making the false
representations of the clinical history of the Profemur® modular necks, and continuing to make
that false representation, was fraud.

336. Wright Medical Technology, Inc., had a duty to accurately and truthfully disclose
to surgeons using its Profemur hip products, the clinical history of fractures of the Profemur® Plus
CoCr Modular Neck, PHA0-1254, and neck-stem corrosion with the Profemur® Plus CoCr
Modular Necks, before the purchase by MicroPort of its Profemur® Product line.

337. Had Defendant Wright Medical Technology, Inc., accurately and truthfully
disclosed to surgeons using its Profemur hip products, the clinical history of fractures of the
Profemur® Plus CoCr Modular Neck, PHA0-1254, and neck-stem corrosion with the Profemur®
Plus CoCr Modular Necks, before the purchase by MicroPort of its Profemur® Product line,
Plaintiff's surgeon would not have used a Profemur® Plus CoCr Modular Neck PHAC-1254 for

Plaintiff's March 18, 2015 revision hip surgery.

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338. The conduct of Defendant Wright Medical Technology, Inc., in not disclosing to
surgeons, prior to the sale of the Profemur® Product line to MicroPort, the clinical history of the
Profemur® Plus CoCr Modular Neck PHAO-1254 fractures, and corrosion at the neck-stem
junction of the Profemur® Plus CoCr Modular Necks, was negligent.

339. The conduct of Defendant Wright Medical Technology, Inc., in not disclosing to
surgeons, prior to the sale of the Profemur® Product line to MicroPort, the clinical history of the
Profemur® Plus Modular Neck PHAO-1254 fractures, and corrosion at the neck-stem junction of
the Profemur® Plus CoCr Modular Necks, was an intentional misrepresentation.

340. The conduct of Defendant Wright Medical Technology, Inc., in not disclosing to
surgeons prior to the sale of the Profemur Product line to MicroPort, the clinical history of the
Profemur® Plus Modular Neck PHAO-1254 fractures, and corrosion at the neck-stem junction of
the Profemur® Plus CoCr Modular Necks, was fraud,

341. Had Defendant Wright Medical Technology, Inc., accurately and truthfully
disclosed to surgeons using its products the clinical history of fractures with the Profemur® Plus
CoCr Modular Neck PHAC-1254, and neck-stem corrosion with the Profemur® Plus CoCr
Modular Necks, Plaintiff's surgeon would not have used a Profemur® Plus CoCr Modular Neck
PHAC-1254 for Plaintiff's March 18, 2015 revision hip surgery.

COUNT VIII
NEGLIGENT and INTENTIONAL MISREPRESENTATION: FRAUD

by
MICROPORT

Plaintiff incorporates by reference as if fully set forth verbatim each and every allegation

in the Complaint.

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342. Defendant MicroPort knew that surgeons would rely on the clinical history of the
Profemur® Plus CoCr Modular Necks, and in particular the Profemur® Plus CoCr Modular Neck
PHAC-1254, in deciding to use, or to continue to use, these products in their patients.

343. Defendant MicroPort Orthopedics, Inc., had a duty to accurately and truthfully
disclose to surgeons, including the Plaintiff's surgeon on or before the date of March 18, 2015, the
clinical history of fractures with the Profemur® Plus CoCr Modular Neck PHAC-1254, and neck-
stem corrosion with the Profemur® Plus CoCr Modular Necks.

344. Defendant MicroPort Orthopedics, Inc., failed to accurately and truthfully disclose
to surgeons, including the Plaintiff's surgeon on or before the date of March 18, 2015, the clinical
history of fractures with the Profemur® Plus CoCr Modular Neck PHAC-1254, and neck-stem
corrosion with the Profemur® Plus CoCr Modular Necks.

345. The conduct of Defendant MicroPort Orthopedics, Inc., in not disclosing to
surgeons, including the Plaintiff's surgeon on or before the date of March 18, 2015, the clinical
history of fractures with the Profemur® Plus CoCr Modular Neck PHAC-1254, and neck-stem
corrosion with the Profemur® Plus CoCr Modular Necks, was negligent.

346. The conduct of Defendant MicroPort Orthopedics, Inc., in not disclosing to
surgeons, including the Plaintiffs surgeon on or before the date of March 18, 2015, the clinical
history of fractures with the Profemur® Plus CoCr Modular Neck PHAC-1254, and neck-stem
corrosion with the Profemur® Plus CoCr Modular Necks, was an intentional misrepresentation.

347. The conduct of Defendant MicroPort Orthopedics, Inc., in not disclosing to
surgeons, including the Plaintiff's surgeon on or before the date of March 18, 2015, the clinical
history of fractures with the Profemur® Plus CoCr Modular Neck PHAC-1254, and neck-stem

corrosion with the Profemur® Plus CoCr Modular Necks, was fraud.

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348. The representations as to the clinical history of the Wright Medical titanium
Profemur® modular necks that the Defendant Wright Medical Technology, Inc., made to surgeons,
as set forth above, were false when made, and Wright Medical knew that they were false.

349. Had Defendant MicroPort Orthopedics, Inc., accurately and truthfully disclosed to
the medical community, the clinical history of fractures with the Profemur® Plus CoCr Modular
Neck PHAC-1254, and neck-stem corrosion with the Profemur® Plus CoCr Modular Necks,
Plaintiff and/or Plaintiffs surgeon would not have used the Profemur® Plus CoCr Modular Neck,
PHAC-1254 in the Plaintiff's March 18, 2015 revision surgery.

COUNT IX
NEGLIGENCE POST-SALE

Wright Medical
Titanium Profemur® Devices

Plaintiff incorporates by reference as if fully set forth verbatim each and every allegation

in the Complaint.

350. After Defendant Wright Medical Technology, Inc., began to receive notice that the
titanium, Profemur® Modular Necks were fracturing, they did not provide post sale warnings to
patients who had these devices implanted that included the following information:

(a) The modular neck of their hip may suddenly and catastrophically
structurally fail, without any warning, by breaking in two, when being used
in normal activities of daily living;

(b) If the modular neck of their hip did suddenly and catastrophically fail, it
may cause them to fall, they would most likely not be able to get up, stand
on that leg, or walk, and depending on where they were, and what they
were doing, at the time of the failure, they could suffer serious injury or
death; and,

(c) These devices were structurally failing by fractures of the modular necks
in patients of many different weights and ieveis of activity.

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351. After Defendant Wright Medical Technology, Inc., received notice that the
Profemur® Modular Necks were fracturing, they did not request surgeons who implanted these
devices to provide patients with these devices, at Defendants’ expense, post-sale warnings that
included the following information:

(a) The modular neck of their artificial hip may suddenly and catastrophically
structurally fail, without any warning, by breaking in two, when being used
in normal activities of daily living;

(b) If the modular neck of their hip did suddenly and catastrophically
structurally fail, it may cause them to fall, they would most likely not be
able to get up, stand on that leg, or walk, and depending on where they
were, and what they were doing, at the time of the failure, they could suffer
serious injury or death;

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(c) These devices were structurally failing by fractures of the modular necks
in patients of many different weights and levels of activity;

(d) These devices were structurally failing by fractures of the modular necks
when being used by patients for work, recreation, and lifestyles that
Defendants Wright Medical and MicroPort had marketed and advertised
these devices as being appropriate for; and,

(ec) The titanium Profemur® Modular Neck, PHAO-1254, has the highest
number, and the highest rate, of premature failure by fracture at the neck
stem junction.

352. Had defendant provided such warnings to the Plaintiff, he most probably would not

have elected to have revision surgery where another long Profemur® Modular Neck with the same
version [angles] would be implanted.

353. The conduct of the Defendants Wright Medical Technology, Inc., and MicroPort
Orthopedics, Inc., to provide post-sale warnings, as set forth above, was negligent.
354. The conduct of the Defendants Wright Medical Technology, Inc., and MicroPort

Orthopedics, Inc., as set forth above, directly and proximately caused injuries and damages to the

Plaintiff.

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COUNT X
NEGLIGENCE POST-SALE
Wright Medical and MicroPort
Profemur® Plus CoCr Modular Necks
Plaintiff incorporates by reference as if fully set forth verbatim each and every allegation

in the Complaint.

355. After Defendants Wright Medical Technology, Inc., and MicroPort Orthopedics,
Inc., began to receive notice that the Profemur® Plus CoCr Modular Necks, PHAC-1254, were
corroding and fracturing, just as had hundreds of the Wright Medical titanium Profemur Modular
necks, they did not provide post sale warnings to patients who had these devices implanted that
included the following information:
(d) The modular neck of their hip may suddenly and catastrophically
structurally fail, without any warning, by breaking in two, when being used
in normal activities of daily living;
(e) If the modular neck of their hip did suddenly and catastrophically fail, it
may cause them to fall, they would most likely not be able to get up, stand
on that leg, or walk, and depending on where they were, and what they
were doing, at the time of the failure, they could suffer serious injury or

death; and,

(f) These devices were structurally failing by fractures of the modular necks
in patients of many different weights and levels of activity.

356. After Defendants Wright Medical Technology, Inc., and MicroPort Orthopedics,
Inc., received notice that the Profemur® Plus CoCr Modular Necks, PHAC-1254, was fracturing,
they did not request surgeons who implanted these devices to provide patients with these devices,
at Defendants’ expense, post-sale warnings that included the following information:

(f) These Profemur® Plus CoCr Modular Neck, PHAC-1254, has been recalled
from the market due to a risk of fracture;

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(g) | The modular neck of their artificial hip may suddenly and catastrophically
structurally fail, without any warning, by breaking in two, when being used
in normal activities of daily living;

(h) If the modular neck of their hip did suddenly and catastrophically
structurally fail, it may cause them to fall, they would most likely not be
able to get up, stand on that leg, or walk, and depending on where they

were, and what they were doing, at the time of the failure, they could suffer
serious injury or death;

(i) These devices were structurally failing by fractures of the modular necks
in patients of many different weights and levels of activity; and,

Qj) These devices were structurally failing by fractures of the modular necks
when being used by patients for work, recreation, and lifestyles that
Defendants Wright Medical and MicroPort had marketed and advertised
these devices as being appropriate for.

357. The conduct of the Defendants Wright Medical Technology, Inc., and MicroPort
Orthopedics, Inc., to provide post-sale warnings, as set forth above, was negligent.

358. The conduct of the Defendants Wright Medical Technology, Inc., and MicroPort
Orthopedics, Inc., as set forth above, directly and proximately caused injuries and damages to the
Plaintiff.

COUNT XI
CONDUCT MERITING PUNITIVE DAMAGES

Wright Medical and MicroPort
Plaintiff incorporates by reference as if fully set forth verbatim each and every allegation

in the Complaint.

359, The acts and omissions of the Defendant Wright Medical Technology, Inc., as set
forth in this Complaint, constitute intentional, fraudulent, malicious and/or reckless conduct.
Accordingly, Plaintiff is entitled to an award of punitive damages against Defendant Wright
Medical Technology, Inc.

360. The acts and omissions of the Defendant Wright Medica! Technology, Inc., as set

forth in this Complaint, constitute intentional, fraudulent, malicious and/or reckless conduct.

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Accordingly, Plaintiff is entitled to an award of punitive damages against Defendant MicroPort

Orthopedics, Inc.

DAMAGES

Plaintiff incorporates by reference as if fully set forth verbatim each and every allegation

in the Complaint.

361.

As a direct and proximate result of the acts and omissions of the Defendants alleged

herein, Plaintiff was injured and damaged. The injuries and damages for which Plaintiff seeks

compensation from the Defendants include, but are not limited to:

a.

b.

physical pain and suffering of a past, present and future nature;
emotional pain and suffering of a past, present and future nature;
permanent impairment and scarring;

medical bills and expenses of a past, present and future nature;
loss of earnings;

loss of earning capacity;

loss of enjoyment of life;

punitive damages;

pre-judgment and post-judgment interest;

statutory and discretionary costs; and,

all such further relief, both general and specific, to which they may be entitled to
under the premises.

PRAYERS FOR RELIEF

WHEREFORE, Plaintiff prays that judgment be entered in his favor, and that he be

awarded compensatory damages from the Defendant Wright Medical Technology, Inc., Defendant

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MicroPort Orthopedics, Inc., and Defendant PellMed, LLC, jointly and severally, for his personal
injuries and damages, and for an award of punitive damages, severally, against Defendant Wright
Medical Technology, Inc., Defendant MicroPort Orthopedics, Inc., and for all such further relief,
both general and specific, to which Plaintiff may be entitled under the premises.
JURY DEMAND
Plaintiff requests a jury trial for all issues so triable.

WHEREFORE, Plaintiff, Curtis L. Mahnken, prays that the Court enter judgment
in his favor and against Defendants in an amount commensurate with his damages including
compensation, consequential, and exemplary damages, and for any further and additional relief as

this Court deems just and proper.

RespcEhty Subs uade 1
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/s/ George McLaughlin

 

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Denver, Colorado 80206

Pro Hae Vice Admission to be Requested

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